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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

IN RE:                                               Chapter 11

DAREN C. DALY                                        Case No.: 22-15694-SMG

      Debtor.
____________________/
                             OBJECTION TO CLAIM NO. 13-1

                        IMPORTANT NOTICE TO CREDITOR:
                       THIS IS AN OBJECTION TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim is
recommended.

       If you disagree with the objection or the recommended treatment, you must file a
written response WITHIN 30 DAYS from the date of service of this objection, explaining
why your claim should be allowed as presently filed, and you must serve a copy to the
undersigned attorney OR YOUR CLAIM MAY BE DISPOSED OF IN ACCORDANCE
WITH THE RECOMMENDATION IN THIS OBJECTION.

       If your entire claim is objected to and this is a chapter 11 case, you will not have
the right to vote to accept or reject any proposed plan of reorganization until the
objection is resolved, unless you request an order pursuant to Bankruptcy Rule 3018(a)
temporarily allowing your claim for voting purposes.

       The written response must contain the case name, case number, and must be filed
with the Clerk of the United States Bankruptcy Court.

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, the Debtor object(s) to the
following claim filed in this case*:

Claim      Name of Claimants         Amount of           Basis for Objection and
No.                                  Claim               Recommended Disposition
13-1       Patrick Daly, Elizabeth   $4,051,277.41       Basis: As detailed in the
           Daly, All Paving &                            attached Summary of Objection,
           Sealcoating, LLC                              there is no credible evidence or
                                                         legal basis to support that the
                                                         Claimants       are      general
                                                         unsecured creditors of the
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                                                            Debtor, yet the Claimants have
                                                            continued to assert frivolous
                                                            claims to vexatiously multiply
                                                            the legal proceedings and costs.

                                                            Recommendation: The Claim
                                                            should be disallowed in its
                                                            entirety.

*Notwithstanding the requirements of Bankruptcy Rule 3007, up to five objections to claim may be
included in one pleading. (See Local Rule 3007-1(C).)


   Dated: October 24, 2022
                                                       Respectfully submitted,

                                                       DGIM Law, PLLC
                                                       Counsel for the Debtor
                                                       2875 NE 191st Street, Suite 705
                                                       Aventura, FL 33180
                                                       Phone: (305) 763-8708

                                                       /s/ Monique D. Hayes
                                                       Isaac Marcushamer, Esq.
                                                       Florida Bar No. 0060373
                                                       isaac@dgimlaw.com
                                                       Monique D. Hayes, Esq.
                                                       Florida Bar No. 0841573
                                                       monique@dgimlaw.com



                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF Notification to all

interested parties via CM/ECF and via U.S. Mail to all parties on the attached service list on this 24th day

of October, 2022.



                                                       /s/ Monique D. Hayes
                                                       Monique D. Hayes, Esq.
                                                       Florida Bar No. 0841573
                                                       monique@dgimlaw.com

                                                 2
           Case 22-15694-SMG   Doc 69       Filed 10/24/22   Page 3 of 127




                                  SERVICE LIST

Patrick Daly
c/o Bruce Goodman, Esq.
5531 N. University Drive
Pompano Beach, FL 33067

C. David Tangora, P.A.
200 SE 18th Ct
Ft. Lauderdale, FL 33316
Tangoralaw@bellsouth.net

TO ALL PARTIES ON THE ATTACHED MAILING MATRIX




                                        3
                                  Case 22-15694-SMG       Doc 69          Filed 10/24/22   Page 4 of 127
Label Matrix for local noticing                 All Paving, Inc.                               Ally Bank, c/o AIS Portfolio Services, LLC
113C-0                                          23123 N State Road 7                           4515 N Santa Fe Ave. Dept. APS
Case 22-15694-SMG                               Syite 250                                      Oklahoma City, OK 73118-7901
Southern District of Florida                    Boca Raton, FL 33428-5489
Fort Lauderdale
Mon Oct 24 14:50:18 EDT 2022
AmeriCredit Financial Services, Inc. dba GM     Broward County                                 Tokyo Century (USA) Inc
P O Box 183853                                  c/o Records, Taxes & Treasury                  c/o Dennis Dressler
Arlington, TX 76096-3853                        Attn: Bankruptcy Section                       Dressler Peters LLC
                                                115 S. Andrews Ave. A-100                      70 W. Hubbard St.
                                                Ft. Lauderdale, FL 33301-1888                  Suite 200
                                                                                               Chicago, IL 60654-5677
All Paving and Sealcoating, LLC                 All Paving, Inc.                               Ally Financial, Inc.
Bruce A. Goodman                                10248 NW 62nd Ct                               Ally Detroit Center
5531 N. University Drive                        Pompano Beach FL 33076-2349                    500 Woodward Ave
Pompano Beach, FL 33067-4649                                                                   Detroit, MI 48226-3416


BMO Harris Bank N.A.                            BMO Transportation Finance                     Best Buy CBNA
PO Box 3040                                     300 E John Carpenter Freeway                   POB 78009
Cedar Rapids, IA 52406-3040                     Suite 500                                      Phoenix, AZ 85062-8009
                                                Irving TX 75062-2370


CIT Bank NA                                     Cadence Bank NA                                Capital One Bank (USA), N.A.
10201 Centrurion Parkway N 110                  25 South Links Avenue                          by American InfoSource as agent
Jacksonville, FL 32256-4101                     Sarasota, FL 34236-5906                        PO Box 71083
                                                                                               Charlotte, NC 28272-1083


(p)CATERPILLAR FINANCIAL SERVICES CORPORATION   Clayton Trial Lawyers                          Clayton Trial Lawyers, PLLC
2120 WEST END AVENUE                            401 E. Las Olas Blvd                           401 E Las Olas Blvd, Suite 1400
NASHVILLE TN 37203-5341                         Suite 1400                                     Ft. Lauderdale, FL 33301-2218
                                                Fort Lauderdale, FL 33301-2218


Elizabeth Daly                                  First Citizens Bank & Trust Comapny            Internal Revenue Service
Bruce Goodman Esq.                              PO Box 593007                                  POB 7346
5531 N. University Drive                        San Antonio, TX 78259-0200                     Philadelphia, PA 19101-7346
Pompano Beach, FL 33067-4649


Isuzu Finance of America, Inc.                  Komatsu Financial                              Kubota Credit Corporation USA
2500 Westchester Ave Ste 312                    c/o Linder Industrial Machinery                1000 Kubota Drive
Purchase, NY 10577-2578                         1601 S Plant City, FL 33563-2014               Grapevine, TX 76051-2334



Office of the US Trustee                        Patrick Daly                                   Suntrust Mastercard
51 S.W. 1st Ave.                                Bruce Goodman, Esq.                            6260 Powerline Road
Suite 1204                                      5531 N. University Drive                       Fort Lauderdale, FL 33309-2018
Miami, FL 33130-1614                            Pompano Beach, FL 33067-4649


Synchrony Bank/Paypal Credit                    Tax Collector Palm Beach County                The Meadow Run Association, Inc.
POB 530975                                      Attn Anne M Gannon                             c/o Paul J. Milberg, Esq.
Orlando, FL 32896-0001                          POB 3353                                       5550 Glades Road, Suite 630
                                                West Palm Beach, FL 33402-3353                 Boca Raton, FL 33431-7206
                                Case 22-15694-SMG              Doc 69         Filed 10/24/22         Page 5 of 127
The Soto Law Group, PA                               Tokyo Century (USA) Inc.                             UHealth
2400 E. Commercial Blvd, Suite 400                   C/O Dennis A. Dressler                               POB 2978
Fort Lauderdale, FL 33308-4026                       Dressler Peters LLC                                  Munice, IN 47307-0978
                                                     70 W. Hubbard St., Ste. 200
                                                     Chicago, IL 60654-5677

US Attorney General                                  US Department of Education                           (p)U S ATTORNEY’S OFFICE
950 Pennsylvania Avenue, NW                          400 Maryland Avenue SW                               99 NE 4TH STREET SUITE 300
Washington DC 20500                                  Washington DC 20202-0001                             MIAMI FL 33132-2131



Daren C. Daly                                        Isaac M Marcushamer Esq.                             Monique D Hayes
10248 NW 62 CT                                       DGIM Law, PLLC                                       DGIM Law, PLLC
Pompano Beach, FL 33076-2349                         2875 NE 191st Street                                 2875 NE 191 Street
                                                     Suite 705                                            Suite 705
                                                     Aventura, FL 33180-2803                              Aventura, FL 33180-2803

Tarek Kirk Kiem
PO Box 541325
Greenacres, FL 33454-1325




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Caterpillar Financial                                United States Attorney
POB 340001                                           99 NE 4th Street
Nashville, TN 37203-0001                             Miami, FL 33131




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)All Paving And Sealcoating, LLC                   (d)Ally Bank c/o AIS Portfolio Services, LLC         (d)AmeriCredit Financial Services, Inc. dba G
Bruce A. Goodman                                     4515 N. Santa Fe Ave. Dept. APS                      P O Box 183853
5531 N. University Drive, Suite 101Pompa             Oklahoma City, OK 73118-7901                         Arlington, TX 76096-3853



(d)Broward County                                    (u)Name,Address1,Address2,Address3,City,State        End of Label Matrix
c/o Records, Taxes & Treasury                        Ally Financial Inc,Ally Detroit Center 5             Mailable recipients     39
Attn: Bankruptcy Section                             Best Buy CBNA,PO Box 78009,,,Phoenix,AZ,             Bypassed recipients      5
115 S. Andrews Ave. A-100                            BMO Transportation Finance,300 E John Ca             Total                   44
Ft. Lauderdale, FL 33301-1888                        Capital One Bank,1680 Capital One Dr,,,M
                                                     CIT Bank NA,10201 Centurion Parkway N 10
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov


IN RE:                                                 Chapter 11

DAREN C. DALY                                          Case No.: 22-15694-SMG

      Debtor.
______________________________________/

                SUMMARY OF DEBTOR’S OBJECTION TO CLAIM 13-1

         1.    The Debtor commenced this action by the filing of a Subchapter V Chapter 11

petition on July 26, 2022.

         2.    The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. 157(b)(2).

         3.    Venue of this case, the Motion, and this Objection in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409.

         4.    The Debtor is the owner of All Paving, Inc. and Resurface Industries, LLC.

Through these entities the Debtor provides roadway solutions, including paving, concrete overlay,

sealcoating and related services to municipalities and commercial customers. The Debtor operates

in multiple counties in Florida with offices at 23123 N. State Road 7, Suite 250, Boca Raton, FL

33428.

         5.    The Debtor’s businesses are dependent on his paving license, skill, bonding,

relationships, and personal services.

         6.    On September 19, 2013, the Debtor formed All Paving, Inc. (“API” or the

“Company”) as a corporation operating under the laws of the State of Florida (the “Formation”).

At the time of Formation, the Debtor identified his fiancé, Jamie A. Schindler (“Jaime”), as the

                                                 1
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president and 80% owner or the Company. The Debtor identified himself as a 10% owner and

Patrick Daly1 (“Patrick”) as the holder of the remaining 10% ownership interest. A copy of the

Formation Ledger is attached hereto as Exhibit A.

           7.       Prior to the Formation, the Debtor worked with Patrick in a business, All Paving &

Sealcoating, LLC (“APS”) formed by Patrick in 2012. The Debtor continued to work with Patrick

and APS after the Debtor founded API.

           8.       In late 2015, the Debtor and Patrick agreed to share and maintained operational

affiliations, but had distinguished businesses for taxes, revenue, customers and services. Under the

arrangement, Patrick maintained full control and ownership of APS. The Debtor maintained full

control and ownership of API. Elizabeth Daly2, who is claiming majority ownership in the

declaratory action did not work at business, and never held an ownership interest in the API.

           9.       The separate companies shared a common office, fictious name, equipment, some

vendor accounts, and certain personnel. They maintained separate bookkeeping and filed

separate tax returns. The arrangement clearly benefited both companies due to economies of scale.

           10.      Both APS and API flourished under the arrangement.

           11.      For a relatively short period between Fall 2015 and May 2017, the companies

operated as separate entities sharing resources and a business office with Patrick at the helm of

APS and the Debtor at the helm of API. Periodic financial reconciliations were conducted between

the companies that were reviewed and approved by both Patrick and the Debtor.

           12.      In 2016, Jaime completely relinquished her ownership interest in API to the Debtor.

           13.      Beginning in 2016, discord arose between Patrick and the Debtor regarding the

business arrangements.


1
    Patrick Daly is the Debtor’s father.
2
    Elizabeth Daly is the Debtor’s mother.

                                                      2
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          14.    Between late 2016 and spring 2017, the Debtor and Patrick, engaged in discussions

to disaffiliate the businesses. Those discussions culminated in a meeting on April 14, 2017 at

BankUnited to disburse the funds on hand in the API Operating Account as a “separation

reconciliation”. An agreement was reached to facilitate the separation with the payment of certain

funds to Patrick.

          15.    The purpose of the separation, and related payments, was to facilitate complete

business disassociation between the Debtor, Patrick and Elizabeth. The parties intended to

extinguish any claim of ownership Patrick and Elizabeth had in API and any claim of ownership

the Debtor had in APS. In other words, each side was going separate ways.

          16.    On or about May 22, 2017, Patrick removed all APS files and materials from the

shared business office, opened a new office down the street, stopped using the “all paving” fictious

name and trademark, and registered a different fictitious name for APS on May 22, 2017.

          17.    Months after the agreed separation and both businesses moved forward with their

operations the Movants, for the first time, asserted their unwarranted claim of majority ownership

in API.

          18.    The Claimants filed Proof of Claim No. 13-1 (the “Claim”) on September 30, 2022.

As support for the Claim, the Claimants attach a copy of the Second Amended Complaint pending

in the Circuit Court of the Seventeenth Judicial Circuit, in and for, Broward County, Florida (the

“Second Amended Complaint”) and related filings.

          19.    The Second Amended Complaint asserts thirteen (13) counts against the Debtor

and his fiancé Jaime A. Schindler, a non-debtor. Each of the claims asserted in the Claimants’

Second Amended Complaint is contingent on the viability of their Count XII (Declaratory

Judgment claim regarding the movants Patrick and Elizabeth Daly ownership of All Paving, Inc.)



                                                  3
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and their Count XIII (Declaratory Judgment regarding ownership of All Paving Tradename,

Trademark, Logo, and the AllPaving.com Domain Name) of the Second Amended Complaint.

       20.        The Claim is objected to for the following reasons:

                 The Claim is unenforceable against the Debtor or property of the Debtor
                 there is no credible evidence or legal basis to support that the Claimants are general
                  unsecured creditors of the Debtor
                 the Debtor is the sole founder, funder, and operator of the Company
                 the Claimants have no legally recognizable interest in the Company
                 there is no equitable basis to grant the Claimants an interest in the Company
                 To the extent the Claim seeks declaratory relief, such relief requires an adversary
                  proceeding pursuant to Fed. R. Bankr. P. 7001(9) and (2).

       As further support for the Objection, the Debtor attaches and incorporates by reference his

answer and affirmative defenses and counterclaim to the Second Amended Complaint hereto as

Exhibit B.

       21.        For the reasons set forth above, the Debtor respectfully requests (i) that the

Objection be sustained, (ii) that the Debtor be awarded attorney fees for having brought such

Objection, (iii) that such fees be paid directly to counsel for the Debtor by Claimants, and (iv) such

other and further relief as this Court may deem just and proper.

   Dated: October 24, 2022
                                                          Respectfully submitted,

                                                          DGIM Law, PLLC
                                                          Counsel for the Debtor
                                                          2875 NE 191st Street, Suite 705
                                                          Aventura, FL 33180
                                                          Phone: (305) 763-8708

                                                          /s/ Monique D. Hayes
                                                          Isaac Marcushamer, Esq.
                                                          Florida Bar No. 0060373
                                                          isaac@dgimlaw.com
                                                          Monique D. Hayes, Esq.
                                                          Florida Bar No. 0841573
                                                          monique@dgimlaw.com


                                                    4
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                    EXHIBIT A




                             5
                                                                                        Case 22-15694-SMG               Doc 69      Filed 10/24/22         Page 12 of 127



                                     AH Paving Cm..~un..ate Info.rmatfon
                    J...Jist Nam12                                        Infoi:-m~tnoa!     110 FiU Out
Finn Name                                          All Paving, Inc.
Business Organization                              Corporation
Business A ddress                                  8439 NW 20th Place, Coral Springs, FL 33071
County                                       -     Broward
Phone                                              954-933-2053
Fax                                                954-933 -1380
Type of Business                                   Construction Contractual Referrals
Date of Business Incorp.                           9/19/2013
Federal Tax #I EIN Number                          XX-XXXXXXX
Corporation Papers State                           Florida
Email information                                  iamie@all-oaving.com
Website                                            www.all-oaving.com
Principal Name ·                                   Jamie Schindler
Physical Residential Address                       8439 NW 20th PL, Coral Springs, FL 33071
Jamie's DOB                                        11/ 1/1 986
Patrick's Contractor License #                                  17856-X
Patrick's Date of Birth                            7/11/1966
Jamie's Social Security###                                 -9076
DUNS Number
NAICS Designation                                  237310, 23 8990
SBA CCR Listed                                     Yes

System for Award Management (SAM) U semame       _ A ll Paving
SAM email                                          Daren@allQavingandsealcoating.com
SAMPassord                                         Umiami12!
CAGE Code
8 (A) Certification Number
8 (a) Expiration Date
SDB Certification Number
SDB Expiration Date
Woman Own Enterprise Cert. Number
Certification Type
Certifying Agency
Expiration Date
Owner 1                                           Jamie - 80%
Owner2                                            Daren - 10%
Owner 3                                           P atrick - 10%
Legal Structure                                   Corporation
Business Type                                     Service Provider
Geographical Sesrvice Area                        Local, Regional, and National
State registred to collect tax                    Florida
Year Business established                         2013
Number ofEmolovees                                3
                                                                                                                                                                                          :
Commodity                                         Construction Contractual Referrals
Business specialty                                All Paving is service company focused on connecting businesses with third-party contractors to ease the bidding and subcontracting process. Specifically, we handle bidding, subcontracting and contract proposals f
What does company add?                            Our company can reduce expenses and streamline the bidding and subcontracting process for all parking lot, curbing, ADA Compliance and paving issues by structuring unique, individualized property audits with a
Describe product to end-user                      Our product/service end-user is the target corporation. We provide a service to reduce costs of parking lot issues by streamlining and anticipating the bidding process.
Competitive Advantage                             Our competitive advantage of leveraging and knowing the paving market by not iust asking several companies to submit a bid, and going with the cheapest one. But we know what each project should cost, why sep.
Annual Sales                                      0                                                                                                I             I            I
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                    EXHIBIT B




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                           Case 22-15694-SMG            Doc 69        Filed 10/24/22        Page 14 of 127
Filing #   130306969 E-Filed 07/08/2021 05:35:32 PM




                                                                           IN THE CIRCUIT COURT OF THE
                                                                           17TH JUDICIAL CIRCUIT IN AND
                                                                           FOR BROWARD COUNTY, FLORIDA

           ALL PAVING, INC., a Florida corporation,                        CASE NO- CACE 17-014794          (03)
           ALL PAVING & SEALCOATING LLC, a
           Florida limited liability company,
           PATRICK DALY and ELIZABETH DALY,


                      Plaintiffs,

           V



           DAREN C. DALY and JAMIE A.
           SCHINDLER,

                      Defendants.
                                                                  i
           DAREN C. DALY and ALL              PAVING, INC.,
           a Florida corporation,



                      Counter-Plaintiffs,

           V



           PATRICK DALY, ELIZABETH DALY,
           and ALL PAVING & SEALCOATING LLC,
           a Florida limited liability company,




                                                                       i

               DEFENDANT DAREN C. DALY'S ANSWER AND AFFIRMATIVE DEFENSES TO
                    PLAINTIFFS' SECOND AMENDED COMPLAINT AND AMENDED
                COUNTERCLAIM BY DAREN DALY AND ALL PAVING, INC. AGAINST ALL
                 PAVING & SEALCOATING, LLC D/B/A 3D PAVING, PATRICK DALY, AND
                                      ELIZABETH DALY


                      Defendant, DAREN C.       DALY    ("Defendant        Daren   Daly")   answers   the Second Amended


           Complaint ("SAC"), as follows:

                      1.     Admit   only that the SAC claims such relief; otherwise          denied.


                      2.      Denied. All   Paving, Inc. is a Florida corporation with its principal place ofbusiness

           in Palm Beach      County, Florida.

                      3       Denied. "All     Paving   LLC" n/k/a         3-D     Paving (hereinafter    "All   Paving   &




               ***
                     FILED: BROWARD    COUNTY, FL BRENDA D. FORMAN, CLERK 07/08/2021 05:35:31 PM.****
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Sealcoating"           or   "3D   Paving") may have       been formed      as a   limited liability company in          January

2012, but it was operated               as a   partnership between Robert Holland and Patrick Daly pursuant to a

May 2013 partnership agreement until January 2020.

           4.           Admit.


           5.           Denied     as   pled.

           6.           Admit.


           7.           Denied     as   pled.

           8.           Admit     only as to 2012; otherwise, denied.

           9-           Admit.


           10.          Admit that All          Paving & Sealcoating purchased the

domain     name        in 2012.


           11.          Denied     as   pled. Admit that Daren went to      law school and     played football in college.

           12.          Denied. All      Paving & Sealcoating was initially formed as a Florida limited liability

company with Patrick Daly as the sole manager and member. In May 2013 it became a partnership


pursuant to       a   written partnersh* agreement with Robert              ("Bob") Holland, and thereafter operated

as a    partnership. See attached Exhibit "A". It was treated as a partnership for federal tax purposes.

In   January 2020, Robert Holland sold his partnership interest to                   Patrick   Daly.   See attached Exhibit

CCD I




           13.          Denied. The ownership ofthe All             Paving & Sealcoating entity is, in fact, in dispute.

See above        no.    12.


           14.          Denied. Daren Daly has not         completed the remaining credits             for   a   master's   degree

in finance and real estate.


           15.          Admit that Robert Holland was           a   partner in All Paving & Sealcoating pursuant to




                                                                2
                 Case 22-15694-SMG                   Doc 69            Filed 10/24/22         Page 16 of 127




the written agreement signedby Patrick                   Daly and Robert Holland; otherwise                  denied.


          16.         Admit that Plaintiffs         employed Joseph             Farendorf      as   their attorney; otherwise


denied.


          17.         Denied.


          18.         Admit that the Articles of Incorporation of All                    Paving, Inc.    as   filed, accepted and

on   record with the Florida            Secretary        of State reflect Daren            Daly   as   the   incorporator, Jamie

Schindler       as   president,   Daren      Daly   as   vice-president,        and Patrick       Daly   as   vice-president.    No


directors   were      named in the Articles of             Incorporation. Accordingly, pursuant                  to the   statutory

mandate of Fla. Stat.           §607.0205(1), only            Daren     Daly    as   the   incorporator       could   complete the

organization ofthe corporation and appoint directors;                      otherwise denied.


          19.         Denied.   Further, Joseph Fahrendorfnever had                      any involvement with All          Paving,

Inc. other than to      provide clerical assistance to Daren Daly in his incorporation o f All Paving, Inc.

          20.         Denied    as   pled.

          21.         Admit     only    that Daren        Daly     commenced             employment      with All       Paving    &


Sealcoating in February 2014;                otherwise denied      as   pled.

          22.         Denied    as   pled. All Paving & Sealcoating was at that time owned by Patrick Daly

and Robert Holland. Admit that Daren Daly had a football resume for several years                                 having worked

in that career       previously, but otherwise he was fully involved in the paving business.

          23.         Denied    as   phrased.   Daren Daly's involvementin the                 paving    business included his


sole   development        of All      Paving,    Inc.    as   a
                                                                  separate entity and business from All Paving &

Sealcoating.

          24.         Denied. Daren Daly alone            purchased the allpaving.com domain name from George

Day.   The document attached             as    Exhibit "3" to the SAC is             a
                                                                                         proposed contract prepared by           the




                                                                   3
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seller George Day that           was never   executed. The       buyer is      shown    as   Daren   Daly.     The reference to


the company is       superfluous because if All Paving & Sealcoating in                       fact   was   the   purchaser there

would be     no   need for   a   reference to Daren Daly         as   purchaser. The insert of"company" was made

by George Day        for unknown reasons, but          likely        was   just a   stock form used        by George Day.       In


fact,   Patrick Daly has admitted in this litigation that he rejected on behalfofhimselfand All                             Paving

&   Sealcoating Daren Daly's request that Patrick Daly or his                       company    purchase the domain name

for $4,600.00, which led to Daren              Daly independently purchasing                   the domain         name.    Neither


Patrick Daly, Elizabeth          Daly nor All Paving & Sealcoating was                  involved in any          negotiations for

purchase     of the domain        name.   Further,   Daren   Daly was         not an    officer, director,       or   agent of All

Paving & Sealcoating when the contract negotiationstook place and thus had no actual or apparent

authority to      bind All   Paving   &   Sealcoating to     a   contract.     Only Daren Daly was             liable to   George

Day to    make payment pursuant to their contract for the domain name, and in fact                             only Daren Daly

transmitted payment to           George Day.

          25.       Denied.


          26.       Denied. The domain         name was      placed in         Patrick   Daly's      Go    Daddy Account for

convenience purposes         only; in fact, Patrick Daly allowed Daren Daly to place a multitude of other

domain     names    owned by Daren Daly in the account.


          27.       Denied. Further, All       Paving    &       Sealcoating        never    acquired     a   trademark in "all

                                               ..


paving" or any logo using "all paving".

          28.       Denied. Admitted       only that during the period when the two companies, All Paving,

Inc., and All Paving & Sealcoating, operated with combined operations from fall                                   2015 to   spring

2017, the companies shared email addresses for all employees.

          29.       Denied.




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           30.         Denied. Admit that            an   operating    account for All    Paving,   Inc.   was    opened   at


BankUnited in           September 2015        so    that Daren   Daly could separately run      and operate All     Paving,

Inc.


           31.         Admit that the bank account               was    opened    and that the   Corporate       Resolution


preparedby BankUnitedwas executed and certified erroneously by Patrick Daly only. Daren Daly

signed only the         section       requiring specimens of signatures       of authorized users ofthe bank account


in order to protect the bank in processing withdrawals. As attested by the BankUnitedbank officer,


Henry Mendez, there               was no    simultaneous meeting of all three         Dalys   at Bank   United;   rather the


Dalys provided signatures at differenttimes. Further, Patrick Daly signed the Corporate Resolution

certification        days after Elizabeth Daly and Daren Daly signed the                authorized bank account signer


section of the document. There never                  was    corporate action taken in September 2015. Documents

created by       a   bank   are   not authorized under       Chapter 607, the Florida Business Corporation Act,            as



substitutesfor required written statutory corporate action,                  as   Judge Lopane found in this litigation,

in   September 2020.1 Further, there                was no   meeting of the   minds between the      parties because the

incorporator, Daren Daly, never intendedthe BankUnited documents to operate as the completion

of the formation of the               corporation or appointment of directors. Rather, the          purpose for the bank

documents        was    to open a bank account and           merely to   allow All Paving, Inc. under the        auspices of

Daren     Daly       to have      a   separate operating     account from that of All       Paving   &     Sealcoating   and


facilitate the business           plan    of two    companies    under separate control    operating in     tandem for the


benefit of each.




1
    THE COURT: So, if I were to open up         a

4 bank account at any bank and say, "I am the
5 primary shareholderof the McDonald's
6   Corporation," then, all of a sudden, I own
7 the McDonald's    Corporation?
September 16,        2020 Trial   Transcript @14.


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        32.       Denied. The BankUnited Bank Resolution references solely                 a    Board of Directors


meeting on 9/19/2013, which not only did not take place, but was a legal and factual impossibility

because that   was   the date that All    Paving, Inc.     was   incorporated without directors named in            its


filed Articles.   Further,   the document references that Patrick         Daly was    elected   as   secretary of the

corporation on 9/19/2013,       which also      was a   legal and    factual impossibility and       never   occurred.


Thus, the document is void.

        33.       Denied. See No. 32.


        34.       Denied. See No. 32.


        35.       Denied. The Florida statute       quoted absolutely does not state that.

        36.       Denied.    Again,   the referenced Florida statutes do not support the                propositions

alleged.

        37.       Denied. A     meeting    to   complete      the formation of the     corporation      and   appoint

directors in   compliance with        Fla. Stat.   §607.0205(1)      occurred in   July 2019,     at which time a



Corporate Record Book was created. Nothing was "backdated" for fraudulent purposes. Rather, as

is customary in corporate practice, the corporate records             were   merely "updated". However, prior

to that date in     September 2013,        Daren    Daly      and Jamie Schindler had discussed corporate


ownership and Jamie Schindler           in fact had     accepted 80% ownership, which           was    recorded in   a




contemporaneous corporate record,          as   defined in Fla. Stat.   §607.01401(62).

        38.       Denied. As stated by BankUnitedin its deposition in this litigation, the sole purpose


of the bank-created Beneficial Ownership Certificate was for bank                  regulation purposes       and anti-


money      laundering    purposes. In   fact, BankUnited has testified that it does             not   participate   in


corporate action    or   meetings   when bank accounts         are   opened,   which is contrary to bank       policy.

Daren Daly never     saw or was
                                    provided the Beneficial Ownership document when the bank account




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was    opened. In fact, in December 2016, Elizabeth Daly had correspondence with BankUnitedthat

revealed that she too       was unaware    of the document until it       was   provided to her in December 2016

by BankUnited. In fact, during this email correspondence it is apparentthat Elizabeth Daly had no

clue that any documents existed that                  purportedly and incorrectly    showed her     as    having   any


ownership interest in All Paving,         Inc.


          39.    Admit that no stock certificates were issued prior to              July 2019. Otherwise denied,

including that   BankUnited internal bank documents established corporate                   ownership and       in any


way complied with       Chapter 607, Florida Statutes. However, All Paving, Inc. corporate ownership

was    documented in    a   corporate record at the time of incorporation.

          40.    Admit that       a    credit   application was submitted; otherwise,            denied. All credit


applications    were    prepared      with the consent and ratification of all         parties   were    filled out to


facilitate the scheme orchestratedby Steven               Joseph Berkman to qualify All Paving       &    Sealcoating

as a   disadvantaged woman-owned business and thus promote Elizabeth Daly, who in reality knew

nothing about the paving business and had no               substantial involvementin the paving businesses, as


a   majority owner of a paving business.

          41.    Admit that a credit       applicationwas submitted; otherwise          denied. See No. 40.


          42.    Denied. See No.40.        Further, if Daren Daly signed either ofhis parent's signature to

credit   applications   and the like, it    was       done with their   knowledge, approval, or     ratification. As


admitted by Plaintiffs' agent, Steven            Joseph Berkman, the        scheme that benefited the Plaintiffs


included    showing Elizabeth Daly on            as   many business documents as       possible when      she   applied

for    disadvantaged    business status.         Ultimately,     the State of Florida and the United States


government denied Elizabeth Daly's applications finding that she had                  no   substantial involvement


in the   paving businesses.




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         43.          Denied. Steven      Joseph Berkman registered and filed the fictitious name document.

This was consistent with the joint business              plan adopted and implemented by All Paving,                     Inc. and


All   Paving & Sealcoating.

         44.          Admit that Patrick      Daly and Elizabeth Daly guarantied certain equipment that was

titled in the    name    of All      Paving, Inc.,   but which All     Paving & Sealcoating claimed            as      assets and



depreciated on its federal tax return; the equipment was used by both companies prior to the                                2017


Business Divorce; otherwise, denied. Further, Patrick Daly and Elizabeth Daly are no                              longer liable

as   guarantors on any ofthe equipment, or for that matter any equipment owned by All Paving, Inc.

         45.          Denied.   Any alleged      "seed    money"       was   repaid   to All       Paving   and   Sealcoating

pursuant to reconciliations between the               two   companies.    As of December            2017, according to the

internal    accounting      records of All       Paving     &   Sealcoating, nothing      was        owed to      or    from the


companies. See the All Paving & Sealcoating Balance Sheet, attached as Exhibit "C".

         46.          Denied.


         47.          Admit that Daren       Daly    and Jamie Schindler      applied for      a   personal mortgage        on a



personal residence, but otherwise denied as argumentative and incomplete recitationof facts.

         48.          Denied    as    argumentative     and   incomplete     recitation of facts.       Further,       the 2016


Annual Report was filed by Steven              Joseph Berkman.

         49.          Denied.


           50.        Denied.


           51.        Denied    as
                                     argumentative and incomplete recitation of facts. Further, no "forgery"

occurred as      a   matter of law.


           52.        Denied    as   argumentative and incomplete recitation of facts. Further, no "forgery"

occurred as      a   matter of law.




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          53.         Admit that Amended Articles         were   filed;   otherwise denied    as   argumentative and

incomplete recitationof facts.

          54.         Admit that    a   wire transfer occurred and that monies        were   thereafter immediately


transferred to    an   All   Paving, Inc. account; otherwise, denied.

          55.         Admit that settlement negotiations occurred in January 2017 when the parties were


adverse; otherwise        denied.


          56.         Denied.


          57.         Denied.   Further, no "forgery" occurred.

          58.         Denied. Steven      Joseph Berkman    filed the annual report.


          59.         Admit that Patrick Daly agreed to accept 65% of the profits of All              Paving, Inc.   for


2016 in consideration of his abandonment of any claim that he                      was ever a      shareholder of All


Paving,   Inc.   as   part of the Business Divorce Agreement between All Paving, Inc. and All Paving

&   Sealcoating.

          60.         Denied.


          61.         Denied.   Further,   as   part of the business divorce between All Paving, Inc. and All

Paving & Sealcoating,Patrick Daly and Elizabeth Daly agreed to move the allpaving.com domain

name   out ofPatrick      Daly's Go Daddy account so that Daren Daly could use another hosting service

to host the domain        name   that he   solely owned.

          62.         Denied.


          63.         Denied.


          64.         Admit that Bank United froze the account due to Patrick Daly and Elizabeth Daly's


reneging on their Business Divorce Agreement and making spurious claims; otherwise, denied.

          65.         Denied. On    April 14, 2017, the parties agreed to      a   final reconciliation of the funds




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in the Bank United account with               some      $313,000.00 going        to All   Paving    &   Sealcoating, some

$58,000.00 going to Patrick Daly and               a   balance of some       $300,000.00 remaining         with All   Paving,

Inc. under the sole     auspices of Daren Daly.           See attached Exhibit "D".


          66.      Admit that the     server was        temporarilyremoved to make a copy; otherwise                  denied.


          67.      Denied. This is        a   subterfuge by             Plaintiffs to   explain why they voluntarily

abandoned All       Paving, Inc.   and chose to start        a   competing business       as   3D   Paving & Sealcoating

("3-D Paving") in May 2017 while now contending, both absurdly and contrary to law, that they

are   fiduciariesto All    Paving, Inc.

          68.      Denied. Plaintiffs abandoned the former                   joint   office of the two      companies     and


unilaterally moved to       a new    office, taking their employees, files, and equipment to launch "3-D

Paving" as a competing business to All Paving,                   Inc.


          69.      Denied.


          70.      Denied.


          71.      Denied.


          72.      Admit that Amended Articles             were    filed; otherwise, denied.

          73.      Admit that Patrick      Daly        and Elizabeth      Daly created the unlawful and phony           June


2017 documentsthat         Judge Lopane found on the record in September 2020 were self-serving and
                                                                                                                  2
irrelevant to the issues in this     litigation and inadmissible in evidence; otherwise, denied.

          74.      Admit that Patrick         Daly       and Elizabeth       Daly    created the unlawful and          phony

documents that       Judge Lopane       found       on   the record in       September    2020      were
                                                                                                           self-serving   and



2
 "THE COURT: That is exactly my position.
9 They're self-servingdocuments. Until we
10 assign the initial ownership or transfer of
11 ownership later on, these are just
12 self-serving documentsthat don't mean
                                                "

13   anything, so I would sustain the objection.
Day 3 transcript of September 2020 trial @28.


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irrelevant to the issues in this    litigation; otherwise, denied.

         75.       Admit that Daren     Daly    does not       recognize   the   validity   of Plaintiffs' unlawful


unilateraland      self-serving phony "Corporate Actions"; otherwise, denied.

         76.       Admit. See No. 75.


         77.       Admit except that All   Paving, Inc. is not a proper plaintiff in this action.

         78.       Admit that Daren      Daly    sent a letter to     Ranger Construction Industries, Inc.;

otherwise denied, including that it contained any false statements.


         79.       Admit that this has been    an   expensive frivolous litigation; otherwise, denied.

         80.       Denied.


         81.       Denied. To the extent    they still exist, the equipment is titled and in the possession

of All   Paving,   Inc.


         82.       Admit that Jamie Schindler is      a   CPA and attorney employed by the          Department of

Treasury; otherwise       denied.


         83.       Denied.


         84.       Denied. Jamie Schindler      was a   shareholder ofA11        Paving,   Inc. between September


19, 2013 and late     2016 when she    relinquished her ownership to Daren Daly.

         85.       Denied.


         86.       Admit that a Release of Mortgage was           recorded; otherwise denied.

         87.       Denied.


         88.       Denied.


         89.       Denied.


         90.       Denied.


         91.       Denied. See AffirmativeDefenses.




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           92.      Any allegation ofthe SAC not specifically admitted herein is specifically denied.

                                 DEFENSES AND AFFIRMATIVE DEFENSES


           93.      For    a   first   defense, Defendant         Daren       Daly   asserts that the Plaintiffs' claims are


barred by waiver and           estoppel. Plaintiff Patrick Daly has stated under oath in this litigation that he

contends that he and Elizabeth                 Daly   obtained their         alleged interest in All Paving,          Inc.   by   a
                                                                                                                                      gift

from Daren Daly of all the All                Paving, Inc corporate stock ("the whole company") in the summer

of 2017 before the             opening      of the    September        2017 BankUnited bank account and thereafter


transferred 15% to Daren               Daly, notwithstandingthat the alleged BankUnited documents purport

to show Daren        Daly only         as a   12.5% beneficial         shareholder, which makes           no   rhyme        or reason.



Moreover, Daren Daly could not have factually or legally transferred all of the All Paving, Inc.

corporate stock       to Patrick       Daly    and Elizabeth      Daly because         he did not     own   all of the corporate


stock at that time.        Further, no subsequent transfer of All Paving,                    Inc. stock was made        factually or

legally by       either Patrick Daly          or   Elizabeth   Daly to       Daren   Daly.     Even if such    a   donative intent


arguably existed, no delivery and acceptance of All Paving                             Inc. corporate stock          ever    occurred,

which renders the          alleged gift void. Alternatively, if the Daly Plaintiffs contend that                       Daren       Daly

promised them stock, their remedy is a claim for breach of contract to deliver the corporate stock,

and   no   such contract claim has been              brought in this litigation. Alternatively, even if Patrick Daly

and Elizabeth       Daly       somehow received 100% of the All                      Paving,   Inc.   stock, Patrick Daly, and

Elizabeth    Daly     as    100%       owners      of All   Paving,        Inc. in toto failed to     comply    with the Florida


Business     Corporation Act,          Fla. Stat.    §607.001, et seq. thereafter.

           94.      For    a   second    defense, Defendant Daren Daly asserts that the Daly Plaintiffs have

filed this   litigation based          on   their    theory    that   they legally     own     corporate shares in           a   Florida


corporation,       All   Paving, Inc., pursuant to alleged "legitimate                    documents" in accordance with


Florida statutory law that they               unilaterally created in          June 2017, which is inconsistent with their


theory that they became corporate shareholders in September 2017. They are                                     not   contending in


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this   litigation that they had         any other contractual                  relationship or business entity relationship with

Defendants. The June 29, 2017,                  purported "corporate documents"                    created by the         Daly       Plaintiffs

and the    July 3, 2017,         Annual       Meeting      are   illegal, void,        and mtra vires pursuant to the Florida


Business     Corporation Act,            Fla. Stat. §607.0101, et seq.                   ("the   Florida     Corporation Act").            All


Paving, Inc. was incorporated on September 19,2013, by sole incorporator Defendant Daren Daly.

The Articles of Incorporation did not name                       a   Board of Directors. Pursuant to Fla. Stat. §607.0205


(1) (b), only     the     incorporator could          hold     an    organizationalmeeting at               the call of    a   majority     of


incorporators to complete               the   organization           of the       corporation    and elect        a   board of directors.

Because neither Patrick               Daly nor      Elizabeth        Daly was        ever an   incorporator of All Paving, Inc.,

neither could call         a   meeting to complete the organization of the corporation or                                elect   a   board of

directors. Pursuant to Fla. Stat.              §607.0621, the                 issuance of stock in     a   Florida     corporation is not

mandatory,     but rather at the discretion of the Board of Directors                             ("The          board of directors may

authorize shares to be issued for consideration                       .   .

                                                                              .") (emphasis supplied). The Daly Plaintiffs were

never   elected     as   directors ofA11 Paving, Inc. at                  an   organizationalmeeting called by Daren Daly as

incorporator and          thus had     no   power to issue stock to themselves. In                     fact, they       admit    they were

never     elected    as    directors of All         Paving,      Inc.         Ergo, they   had    no   power to create corporate

resolutions   or    call   a   meeting prior to the filing                of this   litigation. Further, Judge Lopane has ruled

in this   litigation in September 2020 that the                  claimed corporate documents attached to the SAC                           are



irrelevant   self-serving         documents         unilaterally created by              the   Daly    Plaintiffs. See f.n.2 supra.


Furthermore,the Daly Plaintiffs,while claiming for the past four years that they either are majority

shareholder of All          Paving, Inc.       or   seek   a   future declaration that they                are
                                                                                                                 majority shareholders,

have in fact made          repeated     sworn       statements under oath that             they are        not    owners o f   All    Paving,

Inc., including in several affidavits filed with the Women's Business Enterprise Council in                                              2017


through     2020 and in           a   Paycheck       Protection               Program ("ppp") application               with the federal


government.


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             95.         For   a    third   defense,    if the   Daly    Plaintiffs'    theory is   that   they   are    not   corporate

 shareholders until Counts XII and XIII                     are   determined, then they lack standing to maintain their

 other claims in the SAC.


             96.         For    a   fourth    defense, Defendant            Daren   Daly   asserts    waiver, estoppel, release.

 accord and        satisfaction, and         mootness based on the            following    facts: All   Paving, Inc.       has   always

been under the control of Daren Daly. For                        a   less than 18-month period, All         Paving Inc. under the

 control of Daren Daly, and All                  Paving & Sealcoating,under the control                of Patrick Daly,        operated

 as   shared business           operations whereby          the      companies      shared   offices, personnel, equipment,             a



 fictitious name, and                marketing.     Periodic financial reconciliations occurred between the two


 companies with the consent, approval, and ratification of all parties. A Business Divorce occurred

in    spring 2017        that   was       fully approved, agreed-upon and            ratified by the       Daly   Plaintiffs and All


Paving & Sealcoating.At all times,

             o     Daren Daly alone filed all federal and state tax returns for All Paving,                       Inc.;

             o     Daren Daly alone           was   the licensor for All Paving, Inc to obtain its licenses

                   and   permits;

             o     Daren   Daly       alone made all decisions              regarding hiring    and retention of


                   employees.

                   Daren   Daly       alone obtained all     registered trademarks for All Paving,                Inc.


In   fact,   in   May    2017 the         Daly   Plaintiffs and All       Paving    &   Sealcoating unilaterally and            without


notice to Daren Daly or All Paving, Inc. abandonedthe shared offices and                                opened a separate office
                                                                                                                                        ..

as   "3-D Paving &        Sealcoating."They also filed for a fictitiousname as "3-D Paving & Sealcoating'

and discontinued the                use   of the "all   paving" fictitious name, which has              been   solely     used   by   All


Paving, Inc. since that date. The Daly Plaintiffs and 3D Paving also registered and have exclusively

been   using "3-dpaving.com" as their domain name and web site since their voluntary                                     abandonment


of the shared business               operations.     The   Daly      Plaintiffs and All      Paving   &    Sealcoating have        been



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using   a   3 -D   Paving      email account since that date.          Furthermore, All Paving, Inc.            and All      Paving &

Sealcoating since at least May 22, 2017-a period of over four years-have been directmarketplace

competitors        in   the   same   paving industry in the same geographic location.

            97.         For a fifth defense, Defendant Daren Daly asserts failure of consideration including


failure to    comply with Chapter 607, Florida Statutes in that that neither Patrick Daly nor Elizabeth

Daly paid for All Paving,                Inc. corporate shares with any consideration as set forth in Fla. Stat.


 §607.0621(2),which was approved by the Board of Directors ofA11 Paving, Inc.

            98.         For a sixth defense, Defendant Daren Daly asserts failure of consideration including


failure to     comply         with    Chapter 607, Florida          Statutes in that that the Board of Directors of All


Paving,      Inc.   never      determined that any claimed consideration paid                      by    Patrick Daly   or   Elizabeth


Daly for their purported issuance                  of All   Paving,   Inc. corporate shares was             adequate as mandated

by Fla. Stat. §607.0621(2).              In fact, the    Daly Plaintiffshave admittedthat they provided no personal

funds in connection with their               alleged ownership of All Paving,               Inc.   corporate shares. There is        no



evidence that either Elizabeth Daly                 or   Patrick Daly paid any consideration in connectionwith their


spurious claim that they acquired ownershipthrough a transfer of corporate stock from Daren Daly

in late     summer or         fa112015.


            99.         For    a   seventh   defense, Defendant Daren Daly              asserts         assumption of the     risk and


failure to    comply with Chapter 607, Florida Statutes, in that the Daly Plaintiffs chose to ignore the

statutory requirements of the Florida Business Corporation Act                                     as   mandated   by   the Florida


legislature        and did    so    at their own   peril and risk.

            100.        For    an
                                     eighth defense,        Defendant Daren          Daly    asserts that the      Daly      Plaintiffs


negligently ignored                the statutory    requirements          of the Florida Business             Corporation      Act    as



mandated by the Florida legislatureand did                     so   at their   own   peril and risk.

            101.        For    an   ninth   defense, Defendant         Daren    Daly    asserts that the       Daly   Plaintiffs     are



estopped or equitably estopped                to claim that they own All         Paving,      Inc.      by virtue oftheir disregard


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and   foregoing of the statutory-required compliance with the Florida Business Corporation Act and

their inequitableand fraudulentactions that caused monetary harm to All                         Paving, Inc. and diverted

business     opportunitiesfrom All Paving,           Inc. to 3-D    Paving,    a   competitor ofA11 Paving,            Inc. under


the control of the     Daly Plaintiffs and for the       exclusive wrongful financial benefit to Plaintiffs.

           102.      For   a   tenth   defense, Defendant Daren Daly asserts that            on
                                                                                                  July 3, 2019, Defendant

Daren     Daly completed the organization of All Paving, Inc.                      and   lawfully elected       Daren    Daly   as



director. This      was    the   only compliance with Fla.         Stat.   §607.0205(1)(b)by All Paving,               Inc. after


the creation of the initial corporate record of ownership. By unanimous consent of the Board of


Directors, corporate            action   was   adopted, confirmed,          and ratified from the             original   date of


incorporation and the corporate records were updated. The corporate action adopted is completely

contrary to the Daly Plaintiffs' claims in this litigation.

           103.      For   an   eleventh   defense, Defendant Daren Daly asserts that the Daly Plaintiffs and

Plaintiff 3-D      Paving f/k/a All Paving & Sealcoating,LLC have waived their claims,                           are
                                                                                                                       estopped,

or are   equitably estopped by virtue ofthe following They opened a bank account at PNC Bank on

or   about   April 7,2017 without the knowledge or approval ofA11 Paving,                         Inc.   or   Defendant Daren


Daly     in order to   intercept checks paid by         customers for whom All              Paving, Inc.       had   previously

performed services         and that the     parties had agreed as part of the Business Divorce would be paid

to, or inure to the benefit of, All Paving, Inc., consistent with the                practices during the joint business

operationperiod, andinstead divertedmonies in an amount in excess of $300,000.00 to 3-D Paving

and Patrick       Daly or for their exclusive benefit        and for   no    benefit to All Paving, Inc.         Among     other


things, this shows that the Daly Plaintiffs recognized the two companies                        as
                                                                                                     separate businesses.

           104.      For a twelfth defense, Defendant Daren Daly assert that Plaintiffs are                      estopped and

equitably estopped from maintaining their action premised on the theory that Elizabeth Daly owns

75% of All        Paving, Inc. corporate shares        and Patrick         Daly    12.5% of All      Paving,    Inc.   corporate

shares under Florida's corporate               opportunity   doctrine by     engaging      in conduct to divert business



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opportunities from All Paving, Inc.          to 3-D      Paving. They cannot have their             cake and eat it too. If


they truly claim to be fiduciariesto All Paving, Inc., they have been barred as a matter of law from

competing with it for over the past four (4) years               as   3-D   Paving.

          105.    For   a   thirteenth defense, Defendant Daren               Daly    asserts that to the extent that the


Daly   Plaintiffs claim that documents            prepared by     or   executed for the benefit of BankUnited in


September 2015       in order to open       an   All   Paving, Inc. operating account satisfy compliance with

the Florida Business Corporation Act             or   otherwise   legally establish ownership of corporate shares

ofA11 Paving, Inc., that position is        completely without factual or legal merit.                The September 2017

BankUnited bank resolution           signed by         Patrick   Daly   and the Beneficial         Ownership            document


signed by    Elizabeth      Daly   were    merely      documents created         by    BankUnited to protect itself in

connection with the         opening of a    bank account.        They were      not    legal substitutes for compliance

with the   requirements of the      Florida Business        Corporation Act. Nothing              in the Florida Business


Corporation Act recognizes such an exception                to actual       compliance with the statute as mandated

by the Florida Legislature. Forming a Florida corporation is                    a   privilege,   and not   a   right,   and strict


compliance with Chapter 607          is   required.

          106.    For   a   fourteenth defense, Defendant Daren                Daly    asserts a setoff based on           unjust

enrichment of the monetary value of all of his efforts                 as   the chief executive and person in control


of All   Paving, Inc. Allowing Plaintiffs, arguendo, to               assume    control of All     Paving, Inc. more than

four years after the Business Divorce must in any event                        recognize the monetary            value to All


Paving,    Inc. of services    performed by        Defendant Daren           Daly    and compensate him           accordingly.

Daren    Daly also asserts a setoff of all damage claims in the Amended Counterclaimherein.

          107.    For   a   fifteenth   defense, Defendant            Daren   Daly     asserts that the        Daly     Plaintiffs

released and     acquiesced in the release of any purported claim to                  All   Paving,   Inc. corporate shares


by accepting on April 14,2017,            over   $350,000.00payable to          the Plaintiffs as consideration for the


Business Divorce as well as        subsequent six figure amounts paid to them.


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          108.      For         a   sixteenth   defense, Defendant Daren Daly asserts that the Daly Plaintiffs lack

standing to bring this action on behalfof or through All Paving, Inc.                                     Plaintiffs Elizabeth Daly and

Patrick Daly do not presently have                      a   controlling interest in All Paving, Inc.,                   or   in fact control the


business, and have no authority to                     act on behalf of or      through All Paving,              Inc.   Further, they cannot

maintain a shareholder derivative action because they have not been declared shareholders of All


Paving,   Inc. and have not complied with Fla. Stat.                          §607.0742.

          109.      For         a   seventeenth defense, Defendant Daren                    Daly asserts         that Counts I and IV of


the SAC fail to state cause o f action for conversion as                        a    matter o f law. No          Shelby demand has been

made or pled. Plaintiffs have no                  standing. Patrick Daly and Elizabeth Daly have no claim for "lost

profits" or      loss of "business interest" based                    on   alleged conversion.              The Florida         legislature   has

decreed in Fla. Stat.                §607.01401(43)(a) that           an   "interest" in        a    corporation means           "a share in     a



corporation       for   profit" and        in    §607.01401(44) that            "interest holder" in             a   corporation means          "a


shareholder of          a
                            corporation         for   profit". Ergo, only        a   shareholder of          a
                                                                                                                 corporation       can   claim   a



"share in    a    corporation." A           claim such         as   in this   case   that   a   corporate shareholder              owns, has     a



claim to,    or   has       a   "business interest" in the           underlying tangible or intangible                   assets of a Florida


corporation is clearly frivolous.

          110.      For an           eighteenth defense, Defendant Daren Daly assertsthat Count VII ofthe SAC

fails to state    a cause           of action for breach of fiduciary            duty as    a    matter of law,          including that    at   all

times   as   alleged in             the SAC the        parties were     adversaries and              no   fiduciary relationsh*          existed


between Daren           Daly         and the    Daly    Plaintiffs.    Furthermore, Daren Daly                   has    solely operated       and


controlled All Paving, Inc. and has not breached any                            fiduciary duty to All Paving, Inc.

          111.      For         a   nineteenth    defense, Defendant Daren Daly                      asserts that Count X of the SAC


fails to state a    cause           of action   as a   matter of law. The claim is              brought solely by the two corporate

entities. As      alleged supra,           All   Paving, Inc.        has   no   standing        or   authority       to sue Daren     Daly      for


tortious interference. Moreover, Daren                         Daly   has     always been           in control of the business of All



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Paving,   Inc. and has         completely independently operated              All   Paving,   Inc. since the    spring    2017


Business Divorce. All           Paving & Sealcoating has         not   alleged sufficientfacts and         cannot   establish

that Defendant Daren Daly interferedwith its                 advantageous business relations because at all times

All   Paving,    Inc. and 3D      Paving since    the Business Divorce have been marketplace                    competitors,

whereas prior to the Business Divorce no tortious interference could take place because the                             parties

shared business     operations.

          112.     For    a   twentieth   defense,    Defendant Daren          Daly   asserts that at all times he was



acting   as   the agent of All      Paving,   Inc. and       engaged    in lawful     competition with All Paving           &


Sealcoating.

          113.     For    a   twenty-first defense, Defendant Daren Daly asserts that                 at   all times he   was



acting   in   protection of All Paving,        Inc.'s       contractual, legal      and corporate    rights.    At all times


Defendant Daren        Daly      was   entitled to conduct his business and              legal    affairs in his    own   best

interests without     regard       to the effects on All         Paving   &     Sealcoating. Moreover,           even   under


Plaintiffs' pled theory, Daren          Daly is   a   15%    owner   of All   Paving, Inc.,     and thus under Plaintiffs'


pled theory, he     cannot be sued for tortious interference as a matter o f law.


          114.     For    a    twenty-second defense,          Defendant Daren         Daly     asserts that the basis for


"advantageous business opportunities"                  as    alleged   in the SAC        are    contractual     relationships

terminable at will and thus unactionableas              a    matter of law.


          115.     For    a    twenty-third defense,        Defendant Daren         Daly   assert that     no   damages    are



available to the Plaintiffs under Count X ofthe SAC because they have admittedthat their damages


are
      "speculative and unascertainable."All Paving & Sealcoating's measure                          of damages is limited


to   proof of loss profits proximately caused by Defendant Daren Daly which cannot be proven as                              a



matter of law. All       Paving & Sealcoating's December 2017 QuickBooks Balance Sheet shows no

monies owed to       or   from All     Paving, Inc.    Count X of the SAC fails to            plead any special damages

but rather pleads for         general damages only ("award of damages to               extent   ascertainable"). If special


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damages are not specificallypled, then evidence ofthem is inadmissible.See Precision Tune Auto

Care, Inc.    v.
                   Radcl/e, 804           So.2d 1287     (Fla.   4th DCA        2002).

          116.          For   a    twenty-fourth defense, Defendant Daren Daly                    asserts that Counts XII and


XIII ofthe SAC should be dismissedbecauseit attempts to substitute a                               declaratoryjudgment claim

for   a common          law claim contrary to established Florida law that                      recognizes that such is        not the



purpose of Chapter            86, Florida Statutes. Otherwise, a declaratoryjudgment claim could thwart all

common     law claims and defenses. To the extent that the Daly Plaintiffs claim that Defendant Daren


Daly breached           an   agreement to transfer corporate shares of All Paving, Inc. to them, then the only

claim and     remedy to            the   Daly   Plaintiffs is    a   claim for breach of contract, which has not been


asserted in this        litigation. Plaintiffs are attempting              an   "end run" of Florida       common      law    through

the   guise   of    a   declaratory judgment           action. Count XIII thwarts established                     common      law and


statutory claims for trademarkinfringementunder the guise of an improper "catch-all" declaratory

judgment claim in order to obscure the                  facts and law.


          117.          For   a   twenty-fifth defense,     Defendant Daren             Daly    asserts   that the   Daly Plaintiffs

have failed to       mitigate their damages            and avoid the consequences of their                 actions, including that

they approved, acquiesced,                 and condoned Daren              Daly's     unfettered control of All        Paving,    Inc.


during the roughly one-and-one half year period that it shared business operations with All Paving

&   Sealcoating. If Daren Daly was not in complete control                             of All   Paving,   Inc.    during this period

and if the    Daly Plaintiffs were "controlling owners",                        and   they no longer      wanted Daren        Daly   in


control in any way of All                Paving, Inc.,    then       why   didn't     they simply      fire Daren    Daly   from All


Paving,   Inc.? The Plaintiffs have              no
                                                      cognizabledamages claims under Florida law.

          118.          For    a    twenty-sixth defense,            Defendant Daren            Daly    asserts    that the    parties

voluntarily entered into an oral agreement and course of dealings that was ratified by their conduct

to effect a Business Divorce with respect to the shared business operations between All                                       Paving,

Inc. and All       Paving & Sealcoating that had existed between late 2015 and late 2016. As                              a   result of



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the Business Divorce, Plaintiffs have                 no   damages and no right to equitable or declaratoryrelief.

            119.      For   a   twenty-seventh defense, Defendant Daren Daly asserts that the                       Plaintiffs are


guilty ofuncleanhands due to their inequitableconduct as more fully alleged supra in the amended

counterclaim, including crimes of theft and extortion.

            120.      For   a
                                twenty-eighth defense, Defendant Daren Daly asserts that the Daly Plaintiffs

are    in pari delicto.


            121.      For   a   twenty-ninthdefense, Defendant Daly asserts that the parties entered into an

accord and satisfactionin the aforementioned Business Divorce.

            122.      For   a    thirtieth   defense,      Defendant      Daly   asserts that the       parties   entered into   a



novation in the aforementioned Business Divorce.

            123.      For   a   thirty-first defense,      Defendant Daren        Daly     asserts that the Plaintiffs cannot


obtain      injunctive relief in any         count of the SAC because their remedies at law are                    adequate and

whether prohibitory or             mandatory,    an
                                                       injunction can only be prospective. "[A]n injunction does

not    lie to   prohibit an      act   which has   already been          committed." Quadomain Condominium Ass'n,

Inc.   v.   Pomerantz, 341 So.2d 1041,             1042     (Fla.   4th DCA      1977).   "It is well settled that injunction


will not lie to       enjoin that which has already been                 done." Wilkinson        v.   Woodward,    105 Fla.   376,

141 So. 313        (1932). "[A]n injunctionwill lie only to restrain... future injury, since                      it is impossible


to preventwhathasalready                occurred." City of Coral Springsv. Florida Nat'l Properties,340 Sold


1271,       1272   (Fla.   4th DCA       1976). Furthermore, as alleged supra,                  Plaintiffs have waived     or are



estopped        from    seeking mandatory injunctive                relief based     on    their agreement,        acquiescence

condonation, and           affirmative acts with respect to the Business Divorce.


            124.      For   a   thirty-second defense, Defendant Daren Daly asserts                     that he alone   acquired

and    owns     the   all-paving.com         domain   name    and   merely allowed All Paving & Sealcoating to                use



the domain         name    during the period of shared marketing between All Paving, Inc.                         and All Paving


&   Sealcoating. All Paving & Sealcoating abandoned its use                         of    the   all-paving.com domain name


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when it obtainedin March 2017 the             3d-paving.com domain name and proceeded to                   use   that in the


marketplace exclusively as its           domain   name    in order to     establish,    inter alia, that it had divorced


its   operations and     business from All     Paving, Inc.,      which   was   under the control and       ownership of

Daren Daly.


           125.    For a thirty-third defense, Defendant Daren Daly asserts his exclusive right to allow


All    Paving, Inc. to use the allpaving.com domain name and related intellectual property so long as

he is in control    o f All    Paving, Inc.

           126.    For a thirty-fourthdefense, Daren Daly asserts that Elizabeth Daly's request to have


her be declared the lawful holder of 75% of the corporate shares ofA11                       Paving,   Inc. is fraudulent


and inequitable based on a course of conduct whereby she has previously unsuccessfully attempted

to obtain status for All        Paving & Sealcoating       as a   disadvantaged woman-owned business, which

was     rejected by   the State of Florida and the federal government after                    an   investigation      of her


application. By claiming she was a 75% owner ofA11 Paving, Inc. in this litigation, she was trying

to    bolster her bogus claim that she was        a   majority controlling owner of All Paving & Sealcoating.

Elizabeth    Daly also has provided numerous sworn affidavits to                     third parties with the     same   bogus

claims since the      filing of this litigation.      Elizabeth   Daly was      never a   "disadvantaged owner" and

controlling party in any paving business.

           127.    For    a   thirty-fifthdefense, Defendant Daren Daly asserts that he              alone has obtained

a   registered trademark for All Paving, Inc.,           which was    acquired        after the Business Divorce.       Any

domain     name    for All    Paving,   Inc. must be linked to its trademark.


           128.    For    a
                              thirty-sixth defense,     Defendant Daren         Daly     asserts that the Plaintiff All


Paving, Inc., is not a proper plaintiff in this lawsuit because,                as   set forth herein, Plaintiffs Patrick


and Elizabeth      are   presently not legal owners       of corporate shares of All         Paving, Inc.,      and have   no



authority    to direct the actions of All       Paving, Inc., including,        without     limitation,   the   authority to

cause All                Inc. to file this lawsuit or to have Bruce A.        Goodman, P.A. as counsel herein for
             Paving,


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All   Paving, Inc.      and to pay said firm for its services herein from the funds of All                          Paving, Inc.

             129.    For     a   thirty-seventh defense, Defendant Daren Daly asserts that the Daly Plaintiffs

abandoned All         Paving,      Inc. in order to focus        on   the business      development of 3-D Paving,            a   direct


competitorin the marketplace to All Paving, Inc. and all oftheir actions since the Business Divorce

has been to the detriment of All                Paving, Inc.      and      solely to   benefit 3D      Paving and     their financial


interests in 3D      Paving.

             130.    For     a   thirty-eighth defense, Defendant Daren Daly asserts                     that the    Daly Plaintiffs

cannot be      directors, officers or controlling shareholders ofA11 Paving, Inc. following the Business

Divorce because fiduciaries to                one   corporation cannot operate another corporation in competition

to   that   corporation and remain            as   fiduciaries in accordance with Florida's Business                      Opportunity

Doctrine.


             131.    For     a    thirty-ninth defense,       Daren        Daly   asserts that all claims in the SAC for


"conspiracy" and "aiding                and   abetting" fail     as a   matter of law because           they have     no
                                                                                                                           cognizable

tort claims against        the Defendants and          a   party cannot conspire or aid and abet a tort with itself as

the   alleged perpetrator          and    conspirator as     a   matter of law.        Further,   Daren      Daly   cannot   conspire

with All      Paving,   Inc.     as a   matter of law.


             132.    For     a   fortieth defense, Daren Daly asserts that the              Daly Plaintiffs have no standing

to   claim harm to the "business interests" of All                    Paving,     Inc. because their interest         as a   matter of


law is limited to any stock in All              Paving,    Inc.


             133.    For     a    forty-first defense,       Defendant Daren             Daly     asserts that All         Paving    &


Sealcoating has         no
                             standing      to claim    damages        to the "business interests" of All             Paving, Inc.,    a




competitor.

             134.    For     a   forty-second defense, Defendant Daren Daly                       asserts that Plaintiffs cannot


claim       legal rights     to the words "all         paving"        or   any   use   thereof    as   the   same    is   generic   and


unprotectable.


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           135.      For a forty-thirddefense, Defendant Daren Daly asserts that any claims by Plaintiffs


 for intellectual property of All         Paving,     Inc.     infringes upon All Paving, Inc.'s registered Florida

trademark.


           136.      For   a   forty-fourth defense, Defendant Daren Daly asserts the failure to join Robert

Holland      as an
                     indispensable or necessary party based on his partnership interest in All Paving &

 Sealcoating between May 2013             and   January 2020.

           137.      Trial by jury is demanded on all claims so triable as                        ofright.

                                          AMENDED COUNTERCLAIM


         COMES         NOW, Counterclaimant DAREN DALY, joined by ALL PAVING, INC.                                              as an



 additional       Counterclaimant,       and    file their        Amended Counterclaim                    against Counterclaim

Defendants PATRICK                DALY,    ELIZABETH             DALY, and              ALL PAVING &            SEALCOATING,

LLC d/b/a 3-D PAVING (hereinafter "All                    Paving & Sealcoating" or "3D-Paving"), and in support

thereof state:


                                    PARTIES, JURISDICTIONAND VENUE

                                                                                  ..,

        1.           Counterclaimant Daren           Daly ("Daren Daly")                is   an   individual residing in Broward


County, Florida, who is over the          age of 18 and is otherwise              suijuris.

       2.            Counterclaimant All        Paving,       Inc. is   a   Florida corporation with its principal place of


business in Broward            County, Florida. It   is   a   corporation solely under the              control and dominion of


Daren Daly, who is the sole director ofthe                corporation.

       3             CounterclaimDefendant Patrick                Daly ("PatrickDaly") is an                 individual    residing   in


Broward      County, Florida, who is       over   the age of 18 and is otherwise suijuris.


       4.            Counterclaim Defendant Elizabeth                       Daly ("Elizabeth Daly")              is   an   individual


residing in Broward County, Florida, who is over the                        age of 18 and is otherwise          suijuris.

       5.            Counterclaim Defendant All                Paving       &   Sealcoating        LLC d/b/a 3-D      Paving ("All


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Paving & Sealcoating" or "3D Paving") was until January 2020                          a   partnership but now purports to

be   a   limited   liability     company with its      princ*al place       of business in Broward County, Florida. It


does business          as   3D   Paving, including maintaining a           "3D   Paving web    site" and   a   3-dpaving.com

domain name.


           6.           Venue lies in this Court in Broward                County,   Florida because the Counterclaim


Defendants reside in Broward                  County,    Florida and the present action         was   brought    in Broward


County, Florida. The counterclaims arise out ofthe claims asserted in the                       SAC. The claims asserted


in this Amended Counterclaimrelate back to the                    original counterclaimfiled in this action         and arise


out of the same nucleus of facts. All the               damages claims in this counterclaim each exceed the sum

of $30,000.00


           7.           In   2012, Patrick Daly purportedly formed and registered               a   Florida limited    liability

company, All           Paving & Sealcoating as the          sole manager and sole member. The              following   year he

entered into       a   partnership agreement pertaining to All Paving & Sealcoating with Robert Holland,

a   true and correct copy of which is attached hereto as Exhibit "A" that                           superseded    the limited


liability      company formation and converted it to               a   Florida   partnership between Patrick Daly          and


Robert Holland. Elizabeth             Daly was not a party to the partnership agreement.

           8            Indeed, Elizabeth Daly never was a true member of All Paving & Sealcoating. She

first appeared         on   Sunbiz as   a   purported manager (not a member) in June 2015. Patrick Daly added

Elizabeth Daly          as a   purported manager by an amendment document he                  executed     on   May 26,2015

and filed with the Florida Secretary of State               on   June 1,2015 in order to have her fraudulentlyapply


for and attempt to obtain            disadvantaged woman-owned certification with the                  State of Florida and


the United States government, which                   application was ultimatelyrejected by the governments after

a   determination that Elizabeth               Daly   was   neither    a   true owner or in control of All         Paving    &




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Sealcoating.According to the Sunbiz                       records filed with the Florida                Secretary of State       from 2012


though 2019, Elizabeth Daly has never been a member ofA11 Paving & Sealcoating.

            9-           All   Paving       &   Sealcoating has       no    records of its      ownership and management other

than the aforementioned                partnership agreement between                     Patrick Daly and Robert Holland and              a




January 2020 termination ofthe partnership with Robert                                  Holland.


            10.          On    or   about   September 19, 2013, Daren Daly was the incorporator of All Paving,

Inc. A copy        o f the   Articles   of      Incorporation for All Paving, Inc. are                 attached hereto    as    Exhibit "E".


The articles do not            specify a        Board of Directors, and             therefore, pursuant to         the Florida Business


Corporation Act,          and in      particular Fla.        Stat.   §607.0205, only the incorporator (Daren Daly) could

complete the organization ofthe corporation and                             elect   a   Board of Directors.


            11.          The   Daly CounterclaimDefendantshave                           admitted under oath in this        litigation that

they have no legal basis to             claim they        are   directors of All         Paving, Inc.,    other than bank documents


created by BankUnited in                September 2015           to open a bank account that                  they unilaterally certified

and which do not           comply with Chapter 607, Florida Statutes.

            12.          Also,      on or   about      September 19, 2013,              Daren   Daly created an         Excel   spreadsheet

(the "Spreadsheet")reflecting the corporate ownership of All Paving, Inc.;                                       to wit: Jamie    Schindler


held   an   80%        ownership interest in All Paving, Daren Daly held                           a   10%    ownership interest in All

Paving,      and Patrick        Daly    held       a   10%   ownership interest            in All      Paving,   Inc.    The    Spreadsheet

constitutes a       "corporate record" pursuant to                   Fla.                                 A copy of the         Spreadsheet

regarding the initial ownership ofA11 Paving, Inc. is attached hereto as Exhibit "F". Jamie Schindler

agreed to        and   accepted her 80% corporate ownership in All Paving,                             Inc.


            13.          Patrick      Daly       was    assigned     a   10%        ownership      interest in All       Paving,     Inc. in


anticipation that he would be                   future qualifier for All       Paving,      Inc.   projects.   It is   common
                                                                                                                                 practice in




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the constructionindustry for          a   company to     use a   qualifier's license. In fact,   All Paving, Inc. between


2015 and 2017 used the licenses of several                   qualifiers including Patrick Daly's license obtained for

All   Paving & Sealcoating. However, only Daren Daly has ever obtained a qualifying license for All

Paving,   Inc.


          14.       Between         September       2013 and the fall of        2015, All Paving, Inc. developed              a



business and     marketing plan in anticipation of a paving                 business niche different from that of All


Paving    &     Sealcoating.    Prior to the time All             Paving,    Inc.   began conducting          business in the


marketplace,      All    Paving,     Inc.   was     focused     on   branding   and business      development planning.

Specifically,among other things, in or around February of 2014, Daren Daly purchased the domain

name     allpaving.com to       be used        by   his company, All        Paving,    Inc. At the   time,     All   Paving   &


Sealcoating      was    using   the domain          name                                          Before      purchasing   the


allpaving.com domain            name, Daren         inquired     of Patrick   Daly    as    to whether Patrick wanted to



acquire the     domain name.        However, Patrick Daly indicated he had no such desire for his company.

Daren ended up          purchasing the         domain   name     for himself with his funds and Jamie Schindler's


funds.


          15.       Between      September 2013          and fall 2017 Daren Daly worked           on   the   development of

All   Paving, Inc., focusing primarily                  on    marketing     and business       development planning           in


anticipation of launching All Paving, Inc, in the marketplace with a                        different business model than


All   Paving & Sealcoating.          In   or   around the fall of 2015, All     Paving began conducting business              in


the   marketplace,with Daren Daly as President, CEO and COO,                          and   fully in charge ofthe business

operations ofA11 Paving, Inc. Patrick and Elizabeth fully agreed, acquiesced, condoned, and ratified

Daren's control        over   All   Paving, Inc.      and its business      operations, including       Daren    running   the


business    operations     of All     Paving, Inc., hiring           and   firing employees, obtaining          business and




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supervising projects,            and   filing tax returns. The Daly Counterclaim Defendantsalso agreed to assist

in the   financing and guaranty of,               and    acquisition of paving equipment to be titled             in the   name   of


All   Paving, Inc., but used by both companies. A true and correct copy of an affidavit ofDaren Daly

is attached hereto          as   Exhibit "G" and        incorporated by reference as if asserted as allegations of this

Counterclaim.


          16.          In   January 2016, Jamie Schindler orally relinquished her ownership interest in All

Paving to   Daren          Daly, which was            later memorialized by       a   written assignment, attached hereto         as



Exhibit "H".         Nothing       was   "backdated". As is customary in commercial                     transactions, a     written


document    was       created to memorialize a             prior     oral event. Jamie Schindler has          always   maintained


and testified accordingly.


          17.          Beginning         in late 2015 and       continuing through          the end of 2016, All         Paving    &


Sealcoating under the             helm of Patrick Daly, and All              Paving,      Inc. under the helm of Daren         Daly

began shared business operations including joint marketing                            and shared resources. All        Paving,   Inc.


developed       a   different business strategy than All                   Paving     &   Sealcoating   and   targeted     different


customers. Patrick           Daly,      Elizabeth      Daly,   and All     Paving     &   Sealcoating   continued to approve,


acquiesce, condone,              and   ratify Daren Daly's complete             control   over   the business   operations of All

Paving,   Inc.      during the shared business operations.

          18.          During          the    shared business          operations,        even    though    Daren      owned      the


allpaving.com domain               name, he      permitted     All   Paving & Sealcoating to          use   the domain     name   he


had   purchased       as
                           part of the shared business operations that included shared marketing.

          19.          When All         Paving, Inc. began conducting shared                business   operations at the end      of


2015 with All         Paving & Sealcoating, money would                    be   by necessity advanced by one           company to

the other. However, at all                   times,   the expenses     were     reconciled between the two          independent




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companies based on pavingjobs performed. As                       of December 2017, the              QuickBooks balance sheet

for All   Paving & Sealcoating, a copy of which is attached hereto as Exhibit "C", as prepared by or

for Patrick Daly and Elizabeth Daly shows no monies owed to                            or   from either company to the other.


          20.         Patrick Daly         never   personally paid      any consideration for corporate shares of All


Paving,    Inc. Elizabeth          Daly never personally paid           any consideration for corporate shares of All


Paving, Inc,     as   they have      admitted ion this     litigation. No corporate shares of All Paving,                 Inc.   were



ever   issued to either Patrick Daly or Elizabeth Daly for consideration approved by the directors of


All   Paving, Inc. Further,          neither Daren       Daly nor   Jamie Schindler           ever   transferred their shares      or




ownership interest to the Daily CounterclaimDefendants.

          21.         Patrick      Daly    has admitted in this        litigation that he       never   personally    loaned any


monies to All Paving, Inc. Elizabeth                Daly has admitted that         she   never   personally loaned monies to

All   Paving, Inc.

          22.         In   or    about   September of 2015, prior to the time that All Paving,               Inc.   was   operating

and   taking    on   jobs,   a   bank account      was   opened   at   BankUnited in the         name    of All   Paving, Inc.     in


which Daren Daly, Patrick Daly and Elizabeth Daly were all                         signatories. This was done to facilitate

the shared business          operations between the two companies and to allow Daren Daly to                          control All


Paving, Inc. Patrick incorrectly and spuriously represented to Bank United that he was the secretary

of All    Paving,     Inc. and that the Board of Directors of All                        Paving,     Inc. had authorized bank


resolutions two years earlier             on
                                               September 19, 2015, the          date of incorporation, which         was
                                                                                                                            legally

and   factually impossiblebecauseno Board ofDirectors had then been appointed. Moreover, Patrick

Daly testified under oath at a failed injunctionhearing                      in this   litigation that he never     even   knew of


the existence of All         Paving, Inc. prior thereto.      Elizabeth        Daly provided the        same   information, i.e.,

that she was not an owner in All               Paving, Inc., to the Florida Department of Transportation in August

2017 in connection with her                spurious application        for   women       disadvantaged business ownership



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status for All   Paving & Sealcoating,LLC, which application was ultimatelyrejected.                               Daren    Daly

only   intended that the BankUnited account                     provide   for   joint signatures with       Patrick   Daly   and

Elizabeth Daly so      as to    facilitate the   operations ofA11 Paving, Inc. and never intendedthat any bank

documents establish a transfer of ownership in All                      Paving,   Inc.   as   of   September 2015   or    anytime

thereafter. All information             provided       to    BankUnited in connection with the                  opening    of the


BankUnitedbank account was furnished by Patrick                         Daly or Elizabeth Daly only.

         23.         The      Daly Counterclaim         Defendants never undertook to                  comply   with corporate


formalities mandated by the Florida Business                    Corporation Act to        establish one's lawful status      as a



shareholder, director or         officer ofA11       Paving,    Inc.


         24.         Elizabeth Daly has         never       been in control of All       Paving, Inc.,   or even an   employee

of All   Paving, Inc.      One former      employee attempted to              include her      as an   employee for worker's

compensation, but Daren Daly,             as   the    one   in control ofA11    Paving, Inc., refused to allow it.

          25.        Between December 2016 and                    April 2017,     the    parties    undertook discussions to


 divorce the two       paving     business      companies        from the shared business            operations   such that the


 companies      would     no   longer    have    an   affiliation in the      marketplace      and thereafter be    completely

independent.

         26.         As   a   result of these    disputes, in or       around the   beginning of 2017, Daren Daly, All

Paving, Inc., Patrick, and All Paving & Sealcoating entered into an oral agreement to be performed

forthwith whereby Patrick agreed to               relinquish his        10% interest in All        Paving and   thereafter have


no   affiliationwith All       Paving,   Inc.


         27.         Specifically,Daren Daly and Patrick Daly agreed to the following:

                a.   Patrick Daly would          relinquish his         10%   ownership interest in       All   Paving, Inc.   to
                     Daren Daly;


                b.   Daren Daly would           remove       Elizabeth
                                                         Daly and Patrick Daly as personal guarantors
                     on any financing previously                obtained with vehicles and
                                                                             equ*ment titled to All
                     Paving that they may have guaranteed;



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             c.    Daren  Daly would alone be a guarantor on any new equipment obtained by All
                   Paving, Inc. In fact, in February 2017 All Paving, Inc. had purchased an
                   $800,000.00 piece of equipment with Daren as the sole guarantor. Furthermore, at
                   that time Patrick Daly had specifically contacted the seller financing company to
                   assure that neither he nor Elizabeth
                                                         Daly were in any way involved with the
                   transaction. Subsequently, all equipment obtained by All Paving, Inc. has Daren
                   Daly alone at recourse;

             d.    Daren  Daly agreed to have All Paving, Inc. make payment to All Paving &
                   Sealcoating for labor provided by All Paving & Sealcoating to All Paving for 2016
                   and the beginning of 2017;


             e.    Daren  agreed that All Paving, Inc. would pay Patrick Daly a qualifier fee for 2016
                   and the beginning of 2017 for prior use ofhis qualifying licenses in the name ofA11
                   Paving & Sealcoating;

             f.    Daren Daly would        remove   Patrick Daly from any permits for All      Paving, Inc. jobs;

             g.    Patrick Daly and Elizabeth        Daly would sign documents required by Bank United
                   to remove themselves as authorized       signers on the BankUnited accounts;

             h.    Patrick Daly would sign licensing documents and general contractor licensing
                   documents attesting to Daren Daly's experience and qualifications to assist Daren
                   Daly in obtaining licenses for All Paving, Inc.;

             i.    Patrick Daly would not solicit      or   attempt to solicit business from All Paving, Inc.' s
                   customers;


             j.    Daren  Daly would not solicit or attempt            to solicit business from All   Paving       &

                   Sealcoating's customers; and

             k.    Patrick   Daly    would forthwith turn       over   to Daren any All    Paving, Inc. checks
                   received in   a   P.O. Box shared by All     Paving, Inc. and All    Paving & Sealcoating

(hereinafter referred to as the "Business Divorce Agreement").

       28.         In reliance upon the Business Divorce Agreement, Daren in fact distributed over


$300,000.00 from      an   All   Paving,   Inc. account to All     Paving   &   Sealcoating    and Patrick   Daly.

Specifically, All Paving & Sealcoating received $267,459.35               in payment. Patrick Daly personally


received   $59,800.00   which included       an   additional   salary payment    for 2016 of   $28,800.00    and   a




qualifying fee    for 2016 and the     beginning of 2017 of $31,000.00.         The   remaining amount   of some




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$300,000.00        in the BankUnited Accounts        was   transferred to   an   All   Paving, Inc.       SunTrust account


(the "SunTrust Account") set up by Daren Daly with Daren Daly as the only signatory.

            29.        Patrick Daly and Elizabeth Daly were fully aware and had agreed that the remaining


funds     were    being   distributed to the SunTrust Account for the benefit and                  use   by All Paving, Inc.

under the     auspices and control of Daren Daly.

            30.        Subsequently,    All   Paving, Inc. paid All Paving & Sealcoating another $100,000.00

in   or   about June 2017.


            31.        Indeed,    the document      closing     the BankUnited         Accounts, memorializing the

disbursements to Patrick           Daly and All Paving & Sealcoating and memorializing the                     disbursement


to   the SunTrust Account was           signed by   all three   Daly parties   and notarized         (the "April 14,   2017


Letter"). A       copy of the    April 14,   2017 document is attached hereto          as   Exhibit "D".


            32.        In addition to   paying Patrick Daly and      All   Paving & Sealcoating pursuant to               the


Business Divorce Agreement, and thus               performing under the Business Divorce Agreement, Daren

Daly substantially          if not   fully performed    all of his    obligations       under the Business Divorce


Agreement, including

                  a.   Daren    Daly removed Elizabeth Daly and Patrick Daly                  as   personal guarantors    on

                       leases for All Paving, Inc. equipment and vehicles;

                  b.   Daren   Daly removed Patrick Daly from permits for any All Paving, Inc. jobs;                     and


                  c.   Daren Daly did not and has not solicited or          attempted to solicit business          from All
                       Paving & Sealcoating's customers.

            33.        CounterclaimDefendant initially took actions consistent with the Business Divorce


Agreement         for the   Daly   Counterclaim Defendants to        no   longer   be involved in All           Paving   thus


evidencing their consent, acquiescence to,            and ratification of, the Business Divorce Agreement.


            34.        Elizabeth   Daly had no     involvement in the      negotiations surrounding the            Business




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Divorce       Agreement because she was neither               in control     nor   had   a   controlling ownersh* interest in

either All     Paving, Inc.      or   All   Paving & Sealcoating.

             35.       On   or   about May 22,2017, unbeknownst to Daren Daly and without advance notice


to Daren Daly, Patrick Daly caused All                   Paving & Sealcoating to move out ofthe formerjoint office

ofthe       companies and took the All Paving & Sealcoating customer files with him.                            The   only things

left at the former joint office between the two businesses                    were    All    Paving, Inc.'s customer files.

             36.       Then      on or    about May 22, 2017, Patrick         Daly caused All Paving & Sealcoating to

file   an   Application for Registration of the Fictitious Name                    "3-D   Paving & Sealcoating",changing

the    name   that All   Paving       &   Sealcoating did business to the public to 3-D Paving & Sealcoating ("3-

D   Paving").

             37.       Then      on or    about June 5, 2017, 3-D         Paving sent out blast emails          to its customers


and All      Paving, Inc.     customers      (over 3500 emails) advising customers and potential customers that

All    Paving & Sealcoating was               no   longer operating under the         "All       Paving" name but instead was

rebranding itself and had changed its name to                    3 -D   Paving.

             38.       Patrick     Daly     wrote letters in the summer of 2017 to construction                       companies

indicating         that 3-D      Paving     are    All   Paving,   Inc.   were     separate independent companies and

businesses.


             39.       Initially Patrick Daly was           also turning    over   All   Paving, Inc. checks to       Daren   Daly

for    jobs performed by           All    Paving,    Inc. that   were     delivered to       a   joint   P.O. Box shared   by   the


companies as he agreed in the                Business Divorce      Agreement.

             40.       As   even       further evidence of the Counterclaim Defendant's acceptance and


ratification of the Business Divorce                 Agreement,         and Patrick   Daly's agreement to relinquish            his


interest in All       Paving, Inc.        on or    about June 22, 2017,       a   manager from Wells           Fargo Equipment




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Finance,    confirmed a conversation she had with Patrick                   Daly in which              Patrick    Daly   advised the


manager that while All          Paving, Inc.    is   "currently owned by you [Patrickl                   and your    son   that   as   of


this year   [2017],   the    ownership will be       100% in Daren's        name   .   .   ."


         41.          Patrick Daly and 3D       Paving ultimately breached the terms of the Business Divorce

Agreement.

         42.          Specifically, Patrick refused       to    sign licensing         documents and            general    contractor



licensing   documents attesting to Daren             Daly's experience and qualifications to                     assist Daren     Daly

in   obtaining such       licenses for All Paving, Inc.


         43.          Patrick Daly and 3D       Paving further breached the Business Divorce Agreement by

sending    out   blast emails telling not       only All Paving        &    Sealcoating's customers                but All   Paving,

Inc.' s customers that All        Paving, Inc.   had    changed its     name    when            only   All   Paving & Sealcoating

had   changed its name to        3D   Paving.   This was done in       an   effort to      solicit,    interfere and tamper with


All   Paving, Inc.' s      customers in violation o f the Business Divorce                      Agreement.       This action alone


caused    significant monetary         and   good    will harm to All        Paving,        Inc. Patrick also       tortiously and

unjustifiably interfered with All Paving,             Inc.'s   relationships with          its customers        by incorrectly and

falsely advising All Paving, Inc.'s customers that Daren was purportedly operating All Paving, Inc.

without a license and insurance.


         44.          Then,    in further breach of the Business Divorce                    Agreement          and Patrick    Daly's

agreement that his interest in All Paving, Inc.                was   terminated, on             or   about June   29, 2017, Daren

was   notified by counsel for Elizabeth          Daly and      Patrick Daly that Elizabeth                   Daly and Patrick Daly

was   also provided with the       following void, invalid,          intra vires documentsthat do not                comport with

the   requirements o f the Florida Business Corporation Act:

                 a.   A   purported "Notice of Annual Meeting of Shareholders of All Paving, Inc.;




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             b.    A purported void and unenforceable "Notice of Action by Written Consent of a
                   Majority of Owners/Shareholdersof All Paving, Inc. and Notice of Action by ..

                   Written Consent ofthe Board of Directors ofA11 Paving. Inc.;


              c.   A   purported void   and unenforceable "Action by Written Consent of a               Majority of
                   Owners/Shareholders ofA11           Paving, Inc.;"   and


              d.   A   purported void   and unenforceable "Action           by Written Consent of the Board of
                   Directors of All     Paving,      Inc."   (collectively, the "Purported Actions by Written
                   Consent").

Copies ofthe Notice          of Annual Meeting of Shareholders ofA11           Paving, Inc., Notice    of Action   by

Written Consent of a         Majority of Owners/Shareholders         of All   Paving, Inc.   and Notice of Action


by Written Consent        of the Board of Directors of All         Paving.    Inc. and the   Purported Actions by

Written Consent        are   attached to the SAC. However,           Judge Lopane     has    already   ruled in this


litigation that    said documents are    self-serving, irrelevant, and        not admissible in evidence in this



litigation. See f.n. 2 supra.

       45.         At the    illegitimateand bogus "meeting ofshareholders"called by the Counterclaim

Defendants, Patrick     stated the   following:

          Patrick Just for the record, to make sure that everybody understands, a lot of the
          customers get confused regarding All Paving, Inc. and All Paving [& Sealcoatingl
          because we both do business. A lot of people do not recognize that there's two

          independent companies because we use the same banner and everything else.
          Numerous times I get checks which are made out to All Paving & Sealcoating,
          which I'll just displace to All Paving because we know ourselves internally. A lot
          of times sometimes that flies through the cracks. And I'm sure it happens to the
          other side too.


       46.         Furthermore, Patrick Daly expressly acknowledged the               existence of the Business


Divorce   Agreement by emphaticallystating             at that time that   "[w]e had an agreement between you
                                               ..

and I [Darenl. That's what I'm       saying.

       47.         However, in reality and with deceit and criminal intent, unbeknownstto Daren Daly

and without notice to him, CounterclaimDefendants surreptitiouslyand                 fraudulentlyopened a bank




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account on       April 7,       2017 at PNC Bank in order to             deposit    checks    they     had   intercepted    from


customers ofA11         Paving,    Inc. who     were   paying for paving jobs performed by All Paving, Inc.,                 and


then diverted the       monies, in a      sum over     $300,000.00, to    All Paving &        Sealcoating or Patrick Daly.

These customer payments              were      required    to be turned over to All        Paving,      Inc.   pursuant to the

Business Divorce Agreement and also because                     they were payments for work previously                  done   by

All   Paving, Inc.

          48.         On   July 3, 2019,       Daren   Daly completed the organization of All Paving,                   Inc. and


lawfully    elected Daren           Daly    as     director. This      was    the   only compliance            with Fla. Stat.


§607.0205(1)(b) by          All   Paving, Inc. prior        to the creation of the       corporate record referred         to in



paragraph 37,        which is    incorporated herein by reference. By unanimous consent of the Board of

Directors, corporate            action   was    adopted, confirmed,          and ratified from the           original   date of


incorporation. Despite the formation ofthe corporation not having been completed until July 2019,

prior to that date,

                      Daren Daly alone had   signed and filed every All Paving, Inc. tax returns as
                      the "responsible party";


                 o    Daren  Daly        alone had obtained       qualifying licensing        and   permits     for All
                      Paving, Inc.

                 o    Daren  Daly        alone     hired, supervised, and terminated             All    Paving,    Inc.
                      employees.

Furthermore, since the           formation ofthe Business Divorce Agreement and                  following the "midnight

raove:"   on    about   May 22, 2017,            Patrick   Daly   and Elizabeth        Daly   have had zero,        zip,   zilch


involvement or connection to All               Paving, Inc.,   other than     controlling and running 3D-Paving as a

direct   competitor to All Paving,          Inc.


          49.         Although Patrick Daly and Elizabeth Daly personally guaranteed certain equipment

purchased       in 2015    or   2016 owned and titled in the           name   of All   Paving, Inc., they no longer have


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any   liability on the guaranties and have incurred no damages whatsoeverfrom having agreed to the

guaranties. Moreover, Patrick Daly and Elizabeth Daly caused a 2015 All Paving & Sealcoating tax

return to be filed with the Internal Revenue                    Service that reflected        ownership    for   depreciation

purposes of paving      equ*ment titled and owned by All Paving,                   Inc.


         50.       Counterclaimants incorporateby reference the factual allegations ofparagraphs 93-


96, 104, 106, and 124 of Daren Daly's Answer to the SAC.

         51.       All conditions        precedent to      the   filing    of this action have been        performed,    been


waived,   or   have occurred.


                                                           COUNTI
                        SPECIFIC PERFORMANCE OF BUSINESS DIVORCE
                                AGREEMENTAGAINST PATRICK DALY


          52.      Counterclaimants Daren               Daly    and All     Paving,   Inc.    re-allege   the   allegations   in


paragraphs 1 through 51             above   as   if set forth fully herein.


          53.      This is    an    action for    Specific Performance ofthe Business Divorce Agreementby

 Counterclaimants against Counter Defendants Patrick Daly and All                            Paving & Sealcoating within

the jurisdiction of this Court.


          54.      The oral Business Divorce              Agreement         entered into between Daren           Daly and All

Paving, Inc.,     on one     side,   and Patrick Daly and All          Paving & Sealcoating, on the             other side is   a



valid specifically enforceable agreement. The agreement is memorialized in various documents,


including emails, and was ratified by the conduct thereafter by Counterclaim Defendants.

          55.      In   or   around the     beginning of 2017,         Daren   Daly and      Daren   Daly on behalf of All

Paving,    Inc. and Patrick         Daly,   and Patrick     Daly      on   behalf of 3D   Paving,    entered into the oral


Business Divorce Agreement whereby Patrick                      Daly agreed to relinquish his interest in All Paving,

Inc. and that neither         he,   Elizabeth     Daly,   nor   All   Paving   &   Sealcoating    would have any future




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affiliationwith All   Paving,   Inc.   or   any claim   against Daren Daly or All Paving & Sealcoating               or



its successor, 3D   Paving. At all times All Paving,       Inc.    was an    intended beneficiary ofthe Business


Divorce Agreement.


       56.     Specifically, pursuant         to the Business Divorce            Agreement,   Daren and Patrick


agreed to the following:

               a.    Patrick  Daly     would    relinquish his      10%      ownership interest   in All   Paving    to
                     Daren   Daly;

               b.    Daren     Daly    would    remove    Elizabeth       Daly    and Patrick
                                                                                       Daly as personal
                     guarantors from        any loans associated with vehicles and equipment titled to All
                     Paving, Inc.;

               c.    Daren   Daly agreed to have All Paving, Inc. make payment to All Paving &
                     Sealcoating for labor provided by the All Paving & Sealcoating to All Paving,
                     Inc. for 2016 and the beginning of 2017;


               d.    Daren   Daly agreed that All Paving, Inc. would pay Patrick Daly a qualifier fee
                     for using his qualifying license in 2016 and the beginning of 2017;

               e.    Daren   Daly would remove          Patrick Daly from any        permits for All Paving, Inc.
                     jobs;

               f.    Patrick Daly and Elizabeth Daly would sign documents required by the bank to
                     remove themselves as authorized signers on the BankUnited Accounts;




               g.    Patrick Daly would sign licensing documents and general contractor licensing
                     documents attesting to Daren Daly's experience and/or qualifications to assist
                     Daren Daly in obtaining such licenses for All Paving, Inc.;


               h.    Patrick Daly would not solicit           or   attempt   to solicit business from All    Paving,
                     Inc.'s customers;


               i.    Daren Daly would not solicit or attempt to               solicit business from All    Paving &
                     Sealcoating's customers; and

               j.    Patrick Daly would turn        over to    All    Paving, Inc. checks received        in the P.O.
                     Box shared by All        Paving, Inc. and All      Paving & Sealcoating.

      57.      In order to     partially perform the      Business Divorce Agreement,             on or   about   April

14,2017, Daren Daly, Elizabeth Daly and Patrick Daly went to BankUnitedto close the BankUnited



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Accounts.


         58.      In   reliance upon the          Business Divorce        Agreement,       Daren     Daly     had    over




$300,000.00    from All     Paving accounts distributed to        All   Paving & Sealcoating and        Patrick Daly.


Specifically, All Paving       &   Sealcoating    received     $267,459.35      in reconciliation payments and            a




salary   fee for Patrick of $46,200.00 for 2016 for          a   total of $313,659.35. Patrick Daly         personally

received   $59,800.00   which included       an   additional     salary payment    for 2016 of      $28,800.00      and   a




qualifying fee for 2016 andpart of2017 of $31,000.00. The remaining amount of over $300,000.00

in the BankUnited Accounts          was   transferred to the SunTrust Account set up            by Daren Daly with

Daren    Daly as the only signatory for the sole benefit of All Paving,            Inc.


         59.      Patrick Daly and Elizabeth          Daly were fully     aware    that the   remaining     funds   were




being distributed to the     SunTrustAccount for the sole benefit of All            Paving, Inc. The letter closing

the BankUnited account,         memorializing      the disbursements to Patrick           Daly    and All     Paving      &


Sealcoating and memorializing the          disbursement to the SunTrust Account was               signed by    all three


Daly parties and notarized.        See Exhibit "D".


         60.      In addition to    paying Patrick Daly and All Paving & Sealcoating as per the Business

Divorce    Agreement, Daren Daly substantially if not fully performed all                 his   obligationsunder the

Business Divorce Agreement,          including

                  a.   Daren   Daly removed Elizabeth Daly and Patrick Daly as personal guarantors
                       on   leases for All
                                        Paving. Inc. equipment and vehicles.

                  b.   Daren   Daly removed Patrick Daly from permits for                 any All   Paving.   Inc. jobs;
                       and


                  c.   Daren Daly did not and has not solicited            or
                                                                                attempted to    solicit business from
                       All Paving & Sealcoating customers.


         61.      The Counterclaim Defendants initially took actions consistent with the Business


Divorce    Agreement    for him to      no   longer   be involved in All        Paving. Thus,       the Counterclaim




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Defendants' behavior ratified the Business Divorce Agreement.


            62.     Specifically, on      or   around   May 22, 2017,                 Patrick   Daly    caused All      Paving    &


Sealcoating to move out of the joint officers           and took the All              Paving & sealcoating files with him.

The    only things left at the former joint office were All Paving,                    Inc.'s files.


            63.     Then   on or     around May 22, 2017, Patrick Daly caused All                       Paving    &   Sealcoating

file   an   Application for Registration ofthe FictitiousName 3-D Paving & Sealcoating,changing the

name    All   Paving & Sealcoating did business under to                    3-D    Paving & Sealcoating.

            64.     Then on     or   about June   5, 2017, All Paving & Sealcoating n/k/a                 3-D    Paving sent out

blast emails to its customers        advising people that All Paving & sealcoatingwas no longer operating

under the "All      Paving" name but       instead   was    rebranding itself and               had   changed   its   name   to 3-D



Paving & Sealcoating.See Exhibit "I".

            65.     In accordance with the Business Divorce Agreement,                           on or   about June 12, 2017,


Patrick     Daly was also removed as an officer         and         as a   shareholder ofA11      Paving, Inc.

            66.     Initially Patrick Daly was       also   turning over All Paving, Inc.                checks to Daren       Daly

for All     Paving, Inc. that were     delivered to the P.O. Box              as   per the   Agreement.

            67.     As   even   further evidence of Patrick                Daly's agreement to relinquish         his interest in


All    Paving, Inc.   on or   about June 22, 2017,          a       Manager        from Wells    Fargo Equipment Finance,

confirmed a conversation she had with Patrick Daly in which Patrick Daly advised the                                    Manager

that while All     Paving is "currently owned by you [Patrickl                     and your son that as ofthis year          [2017],

the    ownersh* will be    100% in Daren's         name     .   .   ."   Indeed, Patrick Daly was representing to              third


parties that in 2017, All Paving, Inc. was owned 100% by Daren Daly.

            68.     CounterclaimDefendants, however, ultimately breachedthe terms ofthe Business


Divorce      Agreement.




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         69.       Specifically,    Patrick    Daly refused         to   sign licensing       documents and        general

contractor     licensing   documents attesting to Daren           Daly's experience and qualifications to            assist


Daren Daly in     obtaining such licenses for All Paving,            Inc.


         70.       Patrick Daly further breached the Agreement by sending out blast emails telling not


only All Paving & Sealcoating         customers but All           Paving,   Inc.'s customers that "All         Paving" had

changed its name when only All Paving & Sealcoating had changed its name.                         This    was   done in   an



effort to solicit All   Paving, Inc.' s customers in violation o f the Business Divorce Agreement.

         71.       Then,    in further breach of the Business Divorce                  Agreement, including        Patrick


Daly's agreement to relinquish his interest          in All       Paving,   Inc.   on or   about June 29, 2017, Daren


Daly was notified by counsel for the Daly CounterclaimDefendants that he was calling an "Annual

Meeting of Shareholders ofAll Paving,           Inc."   on   July 11, 2017. Daren Daly was also provided with

the   following void,   intra vires and unenforceable documents:


                   a.   A   purported "Notice of Annual Meeting of Shareholdersof All Paving, Inc.;

                   b.   A  purported and unenforceable "Notice of Action by Written Consent of a
                        Majority of Owners/Shareholdersof All Paving, Inc. and Notice o f Action by
                                                                                                     ..
                        Written Consent ofthe Board of Directors ofA11 Paving. Inc.;


                   c.   A   purported and     unenforceable "Action by Written Consent of                  a   Majority of
                        Owners/Shareholders       o f All    Paving, Inc.;     and


                   d.   A  purported and unenforceable "Action by                  Written Consent of the Board of
                        Directors of All Paving, Inc."


            72.    At the     meeting that   Daren   Daly     attended with stated         objection, however, Patrick

 Daly acknowledged and           ratified the Divorce    Agreement          and also   acknowledgedmultiple times

 that All   Paving,   Inc. and All Paving &     Sealcoating were two separate companies.

            73.    As   one   such example, Patrick Daly stated the           following:

          Patrick: Just for the     record,   to make sure that   everybody understands, a lot of the
            customers   get confused regarding     All   Paving, Inc. and All Paving [& Sealcoatingl



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          because   we   both do business. A lot of people do not
                                                              recognize that there's two
         independent companies because we use the same banner and everything else.
         Numerous times I get checks which are made out to All Paving & Sealcoating,
         which I'll just displace to All Paving because we know ourselves internally. A lot
         of times sometimes that flies through the cracks. And I'm sure it happens to the
          other side too.


(Emphasis supplied).

          74.     As another   example, Patrick Daly expressly stated"[wlehad an agreement between

you and I    [Darenl. That's what I'm saying."

          75.     Additionally, in   further breach of the Business Divorce Agreement,                 on or   about


August 23, 2017, the Day CounterclaimDefendants improperly and impermissibly filed Articles

of Amendment to All         Paving, Inc.'s Articles o f Incorporation seeking to         remove   Da   ren   Daly as

President of All    Paving, Inc.   and   listing   Patrick Daly   as   the President and Elizabeth     Daly    as   the


Vice President of All         Paving,    Inc. Patrick   Daly     and Elizabeth     Daly    also   improperly        and


impermissibly changed the principal place ofbusiness address and registered agent address for All

Paving,   Inc. to their home.


          76.     Patrick Daly and Elizabeth        Daly have     also been   misappropriating    checks     payable

to All   Paving, Inc. by intercepting and depositing checks made out to            All   Paving, Inc. in the PNC

Account to which      only Patrick Daly and Elizabeth Daly had access.            These checks     were    required

to be turned over to Daren Daly for the benefit ofA11 Paving, Inc.            pursuant to the Business Divorce

Agreement       for the sole benefit of All    Paving,    Inc.   Instead,   the customer payments have been


diverted for the sole benefit of CounterclaimDefendants.


          77.     The terms and conditions of the Business Divorce                   Agreement      are   just      and


commercially       reasonable and enforcement of the Business Divorce                    Agreement      would be


equitable.

          78.     CounterclaimDefendantshave the             ability to specificallyperform their obligations



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under the Business Divorce Agreement.


            79.      Based upon CounterclaimDefendantsbreach of the Business Divorce Agreement,


Counterclaimants            are    entitled to the relief of          specific performance.       The Business Divorce


Agreement          covered    unique property          and   proprietary    interests that    a   court of       equity   should


specifically enforce.

            80.      Specifically,Counterclaim            Defendants must be       required to formallyrelinquish any

claimed interest in All            Paving, Inc.     consistent with the corporate action          adopted by        All   Paving,

Inc.   on   July 3, 2019,        cease   and desist holding themselves out          as   owners, directors and officer of


All    Paving,     Inc. and   cease      and desist from     soliciting   and/or   attempting     to   soliciting   All   Paving,

Inc. customers, and otherwise              comply with the Business Divorce Agreement.

            WHEREFORE, Counterclaimants Daren Daly and All Paving,                           Inc. demand that this Court


enter judgment        against CounterclaimDefendants Patrick Daly and All Paving & Sealcoating and

requiring     the    specific performance            of their   obligations    under the     parties'     Business Divorce


Agreement, and         for such other and further relief as this Court deems just and proper.


                                                             COUNT II
       BREACH OF BUSINESS DIVORCE AGREEMENTAGAINST PATRICK DALY


            81.      Counterclaimant Daren              Daly    and All    Paving,   Inc.   re-allege     the    allegations   in


paragraphs 1 through              80 above   as   if set forth fully   herein, except that this count in the alternative

seeks    damages      for breach of contract rather than                specific performance.          This is   an   action for


damages       in   excess   of $30,000.00, exclusive of interest, costs and               attorneys' fees and within the

jurisdiction of this Court.

            82.      In 2017 Daren Daly and Daren Daly on behalfofA11 Paving, Inc. and Patrick Daly


and Patrick        Daly     on    behalf of All      Paving     &   Sealcoating    entered into the Business Divorce


Agreement whereby Patrick Daly and All Paving & Sealcoating, inter alia, agreed to relinquish



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any interest or involvementin All          Paving,   Inc. and have     no   further affiliation or involvementwith

All   Paving, Inc.

          83.       Patrick   Daly    and All   Paving   &    Sealcoating materially breached       the terms of the


Business Divorce Agreement.


          84.       At all times All     Paving, Inc.   was an     intended beneficiary of the Business Divorce


Agreement.

          85.       As   a   direct and   proximate result        of Patrick's breach of the Business Divorce


Agreement, Counterclaimant All Paving, Inc.                  has suffered     damages, including    loss   profits   and


damage to its good will.

          WHEREFORE, Counterclaimants Daren Daly and All Paving, Inc. demand a judgment for

compensatory damages against Counter Defendant Patrick Daly and Counter Defendant 3D

Paving, including prejudgment interest and               its costs, and such further relief as this Court deems


just and proper.

                                                     COUNT III
                   TORTIOUS INTERFERENCE AGAINST PATRICK DALY,
                 ELIZABETHDALY AND ALL PAVING & SEALCOATING, LLC


          86.       Counterclaimant All      Paving,     Inc.   re-allege the allegations in paragraphs 1 through

51 above    as   if set forth more fully herein, except that this count is        a   claim for tortious interference.


          87.       This is   an   action for compensatory damages for tortious interference with business


relationships within the jurisdiction of this court.

          88.       Patrick and All     Paving & Sealcoating have tortiously interfered with All Paving,

Inc.'s   advantageousbusiness relations with All Paving, Inc.'s customers by falsely informing All

Paving,    Inc.'s customers that Daren          Daly was purportedlyoperating All Paving, Inc.              without    a



license and insurance.


          89.       Patrick   Daly    and All   Paving    &     Sealcoating   have    tortiously interfered   with All




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Paving,    Inc.'s   advantageous business           relations with All      Paving,     Inc.'s customers    by falsely

informing All Paving, Inc.' s          customers   that Patrick Daly owns All         Paving, Inc.

          90.       Patrick   Daly     and All    Paving   &   Sealcoating     have   tortiously   interfered with All


Paving,   Inc.'s and Daren's       advantageous business relations with All Paving,                Inc.'s customers    by

improperly diverting customer payments for work performed by All Paving,                          Inc. to All   Paving &

Sealcoating.

          91.       Patrick Daly was      acting   at all times as the   agent of Elizabeth Daly and All Paving

&   Sealcoating, and      thereafter    as   3D   Paving, with   their   knowledge, acquiescence, condonation,

ratification and consent.


          92.       The actions of Counterclaim Defendants               were    both   unjustified and unprivileged

and   were   done with malice.


          WHEREFORE, Counterclaimant All Paving,                          Inc.    demands     a    judgment against

Counterclaim Defendants Patrick               Daly,   Elizabeth     Daly,   and All      Paving    &   Sealcoating     for


compensatory damages together with costs, and any further reliefthis Court deemsjust and proper.

                                                      COUNT IV
                                         BUSINESS DISPARAGEMENT


          93.       Counterclaimant All       Paving,   Inc.   re-allege the allegations in paragraphs 1 through

51, above    as   if set forth fully   herein, except that this count is a claim for business disparagement.

          94.       Counterclaim Defendants have               engaged    in and continue to engage             in,   at   a



minimum, the following          acts:


                    a.
                              Disparaging Daren Daly and All Paving, Inc. to customers;

                    b.        Holding themselves out improperly as the majority              owners     and officers of
                              All Paving, Inc.;


                    C
                              Soliciting and attempting to       solicit All   Paving, Inc. customers;

                    d.      Notifying All Paving, Inc. customers that "All Paving" changed its name to
                            3-D Paving & Sealcoating in an effort to purposefully confuse customers;




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                 e.      Attempting to poach All Paving, Inc. employees;

                 f.      Improperly opening and using the PNC Account in All Paving, Inc.' s name;

                 go      Misappropriatingmonies belonging to All Paving, Inc.;

                 h.      Improperly    and    impermissibly amending               All       Paving,   Inc.    corporate
                         documents without authorityto do so;


                 i.      Publishing false statements with the Florida Department                    of State, Division
                         of Corporations; and


                 j       Interfering with Counter-PlaintiffAll Paving, Inc.'s business relationsh*s
                         and agreements.


          WHEREFORE, Counterclaimant All Paving,                  Inc. demands           a   judgment    for   damages

against   Counterclaim Defendants Patrick       Daly,   Elizabeth        Daly,   and All      Paving   &   Sealcoating

n/k/a 3D   Paving for compensatory damages together with attorneys' fees,                      costs, and any further

relief this Court deems just and proper.


                                                COUNT V
                                             (CONVERSION)

          95.    Counterclaimant All   Paving,   Inc.   sues All    Paving & Sealcoating,Patrick Daly and

Elizabeth Daly for conversion and     re-allege the allegations in paragraphs 1 through 51                    supra   as   if


set forth fully herein


          96.    Counterclaim Defendants Patrick            Daly    and All       Paving       &    Sealcoating    have


converted customer business check payments                  specifically    identifiable and earmarked for


Counterclaimant All      Paving,   Inc. for work    performed by          All    Paving,      Inc. for Counterclaim


Defendants' Patrick Daly and All      Paving & Sealcoating,LLC             exclusive control and benefit.


          97.    Patrick Daly was   acting   at all times   as   the agent of Elizabeth         Daly and All Paving

&   Sealcoating,LLC with their knowledge, acquiescence, condonation,ratification and consent.

          WHEREFORE, Counterclaimant,All Paving, Inc., demands a judgment for compensatory

damages against       Counterclaim Defendants Patrick            Daly,   Elizabeth   Daly,         and All    Paving       &




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Sealcoating,plus prejudgment interest, costs and attorneys' fees, and such other relief as this court

deems just and proper.


                                                       COUNT VI
                                   (NEGLIGENCE BY PATRICK DALY)

         98.       Counterclaimant All          Paving,   Inc.   re-allege the allegations in paragraphs 1 through

51 supra    as   if set forth    fully herein, except        that this count is        a   claim for   negligence against

CounterclaimDefendant Patrick Daly.

         99.       Patrick owed        a
                                           duty of care and loyalty while he was an officer ofA11 Paving, Inc.

not to harm All     Paving,     Inc.


         100.      CounterclaimDefendant Patrick Daly has                  negligently sought to         cause   damages to

Counterclaimants by breaching their duties to Counterclaimants as                          more   fully alleged herein.

         101.      Patrick negligently or         recklessly breached      that   duty which was        a   proximate cause

of harm to All Paving, Inc.


         WHEREFORE, Counterclaimant All Paving, Inc. demand                                a   judgment for compensatory

damages against CounterclaimDefendant Patrick Daly for compensatory damages, costs, and such

other relief as this court deems just and proper.



                                                      COUNT VII
                    (NEGLIGENCE BY ALL PAVING & SEALCATING, LLC)

         102.      Counterclaimant All          Paving,   Inc.   re-allege the allegations in paragraphs 1 through
51 above    as   if set forth   fully herein, except that this        count is    a   claim for    negligence against     All


Paving & Sealcoating.
         103.      CounterclaimDefendant All              Paving & Sealcoating owed a duty to               Counterclaimant

All   Paving, Inc.   not to engage in conduct that            was   reasonably foreseeable to           cause    damages   to


Counterclaimant All      Paving, Inc.

         104.      Counterclaim Defendant All               Paving     &   Sealcoating negligently            or   recklessly



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breached that     duty which was a proximate cause ofharm to All Paving, Inc., as more fully set forth

supra.

         WHEREFORE, Counterclaimant All Paving, Inc. demands a judgment for compensatory

damages, against         Counterclaim Defendant All                 Paving   &   Sealcoating, its costs,   and such other

relief as this court deems just and proper.

                                                        COUNT VIII
   (VIOLATION OF FLORIDA'S CIVIL REMEDIES FOR CRIMINAL PRACTICES)

         105.         Counterclaimant All          Paving,   Inc.   re-allege the allegations in paragraphs 1 through

51 and 95-97 supra,          as   if set forth fully herein, except that this count alleges        an   independent claim

for violation of Florida's Civil Remedies for Criminal Practices Act                               against Counterclaim

Defendants 3D         Paving and Patrick Daly.

         106.         CounterclaimDefendants 3D              Paving and Patrick Daly have undertaken a pattern of

criminal behavior in violation of Fla. Stat.              §772.103, which provides in pertinent part

         It is unlawful for any person:

           (1) Who has              with criminal intent received any
                                                                   proceeds derived, directly or
         indirectly, from           a   pattern of criminal
                                                      activity     through the collection of an
                                                                             or

         unlawful debt to use or invest, whether directly or indirectly, any part of such
         proceeds, or the proceeds derived from the investment or use thereof, in the
         acquisition of any title to, or any right, interest, or equity in, real property or in the
         establishment or operation of any enterprise.

            (2)        Through      a   pattern of criminal activity       through the collection of
                                                                             or                                   an

         unlawful        debt, to acquire or         maintain, directly or indirectly, any interest in            or

         control of any       enterprise or real property.
           (3) Employed by, or associated with, any enterprise to                        conduct   or
                                                                                                        participate,
         directly or indirectly, in such enterprise through a pattern                    of criminal     activity or
         the collection of an unlawful debt.

            (4)        To   conspire or endeavor to       violate any of the       provisions of subsection (1),
         subsection         (2), or subsection (3).

         107.         Fla. Stat.   §772.102(1) defines a "criminal activity" to include violations of Chapter
774   (assault and battery),            812   (theft), chapter   817   (fraudulent practices), chapter      831   (forgery),
and Fla. Stat.    §   836.05      (extortion).



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        108.      Fla. Stat.   §772.102(4) defines a "pattern      of criminal   activity"to mean:
        ...

              engaging in
                        at least two incidents of criminal activity that have the same or
        similar intents, results, accomplices, victims, or methods of commission or that
        otherwise are interrelated by distinguishing characteristics and are not isolated
        incidents; provided that the last of such incidents occurred within 5 years after a
        prior incidentof criminal activity. For the purposes ofthis chapter, the term"pattern
        of criminal activity" shall not include two or more incidents of fraudulent conduct
        arising out of a single contract      or   transaction   against one or more related persons.

       109.       Counterclaim Defendants Patrick             Daly     and 3-D    Paving   f/k/a All    Paving    &


Sealcoating have engaged in at least two incidents of criminal activity within five              years, to wit:

                (a)      On or about March 19, 2021, Patrick Daly, individually and as an agent of
        3-D Paving violated Fla. Stat. §836.05 (extortion), which provides, "Threats; extortion.-

        Whoever, either verbally or by a written or printed communication, maliciously threatens
        to accuse another of any crime or offense, or by such communicationmaliciouslythreatens
        an injury to the person, property or reputation of another, or maliciouslythreatens to expose

        another to disgrace, or to expose any secret affecting another, or to impute any deformity
        or lack of chastity to another, with intent thereby to extort money or any pecuniary

        advantage whatsoever, or with intent to compel the person so threatened, or any other
        person, to do any act or refrain from doing any act against his or her will, shall be guilty of
        a felony of the second degree, punishable as provided in s. 775.082, s. 775.083, or

        s. 775.084." On that date: Patrick Daly, individually and as an agent of 3D-Paving

        transmitted a text message, a copy ofwhich is attached hereto as Exhibit "J" to Daren Daly
        threateningto injure his reputation and expose him to disgrace ifA11 Paving, Inc. under the
        control of Daren Daly did not agree to pay 3-D Paving an exorbitant amount of money it
        had demanded in order to resolve the litigation with All Paving, Inc.


                  (b)       In the   summer   of 2017 Patrick and
                                                          Daly, individuallyand on behalf of 3-D
        Paving stole the following pieces of equipment owned and titled in the name ofA11 Paving,
        Inc. and owned by All Paving, Inc., which they still wrongfully retain:


                  (1)   2017   Rampant Trailer Vin No. 5SPTD3521HW200402;

                  (2)   2016 Better Built Trailer Vin No.        4MNDB2025G1001199,and

                  (3)   2017 Homemade Trailer Vin No. NOVIN020115946


        Hereinafter referred to         collectively   as   "the trailers". Defendants'      original   theft and


continued retention and        use   of the trailers constitutes   a   violation of Fla. Stat.   §812.014, which

provides,

        Theft.-




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           (1) A person commits theft ifhe or she knowinglyobtains or uses, or endeavors to
           obtain or to use, the property of another with intent to, either temporarily or
           permanently:

                (a)    Deprive the     other person of   a
                                                             right to the property   or a   benefit from the
           property.

                (b)    Appropriate the property to his or her own use or to the use of any person
           not entitled to the use of the property.


 The trailers     were   thereafter used by 3D    Paving and have not been returned, despite demand to            All


 Paving,   Inc.


               (c) On or about 4,2017, Patrick Daly as purported "vice-president"ofA11 Paving, Inc.
           surreptitiouslyand without the knowledge of Counterclaimants opened a bank account at
           PNC Bank pursuant to attached Exhibit "K" that a corporate resolution authorizing the
           account was approved by the All Paving, Inc. Board o f Directors. Patrick Daly's purpose
           of opening the bank account was to fraudulentlydivert customer payments due All Paving,
           Inc. to 3D Paving. On or about July 26, 2017, Patrick Daly deposited a check into a 3-D

           Paving account at 3D Paving bank account at BBT Bank. in the amount of $278,576.72.
           A copy of the check is attached hereto as Exhibit "L". The funds represented by the check
           were funds belonging to and due All Paving, Inc., but which were diverted to 3-D Paving

           pursuantto a scheme created by Defendantswherein a fraudulentbank account was created
           at PNC Bank in April 2017 in order to divert and receive customer deposits due All Paving,
           Inc. for work performed by All Paving, Inc. and then later transfer the funds to a bank
           account o f 3 -D Paving. All Paving, Inc. never received the funds, which were thereafter
           used solely for the subsequent benefit of 3-D Paving, a marketplace competitor to All
           Paving, Inc.;

The   proceeds    from the   July 26,    2017 check   were     thereafter invested into 3D       Paving   and used to


pursue the scheme to       destroy All Paving,    Inc. in the marketplace.


                (d)   Likewise in          and
                                      August 2017, funds received from the fraudulent PNC bank
                                    July
           account were used and invested as litigation expenses for 3D Paving in order to carry-out
           the aforementioned scheme;


                (e)   In March    or   April               Sample Road, Suite 201, Coral Springs,
                                               2017 at 10394 W.
           Florida,   Patrick Daly committed the crime of assault bythreatening to shoot Daren Daly
           with a gun as a means of intimidation in order to resolve the dispute between All Paving,
           Inc. and 3-D Paving on unfair terms and cause it financial harm.


         110.         Counterclaim Defendants Patrick             Daly   and   3-D     Paving maliciously       have

committed two         or more   incidents of criminal    activity within a period     of five   (5) years, which was



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and is   a   continuing     endeavor and      enterprise intended maliciouslyto               cause    harm to All      Paving,   Inc.


in order to     destroy All Paving,        Inc. for the benefit of its marketplace            competitor, 3-D Paving, under

the control of the         Daly Counterclaim Defendants. The                  intent of Patrick       Daly    and 3-D       Paving in

committing the           crimes set forth in 7 109 was to            coerce   All   Paving,   Inc. to pay     unreasonably large

sums     of money to them           so   that All   Paving, Inc.       would be forced to close its business and thus


ultimately benefit         3-D    Paving, its competitor. Furthermore, All Paving, Inc.                      has been    financially

harmed       by   the Counterclaim Defendants' retention of the trailers and the theft and retention of


$278,576.72 and by the             acts set forth in 7109.


             111.        Defendants have with criminal intent received                        proceeds derived, directly            or



indirectly, from a pattern           of criminal     activity   or    through   the collection of an unlawful debt to             use



or   invest,   whether      directly or indirectly, any part           of such   proceeds,     or   the    proceeds    derived from


the investment or          use   thereof, in the acquisition of any title to,           or   any    right, interest,   or   equity in,

real property       or   in the establishment       or
                                                         operation of any enterprise.

             112.        The threats also       constitute        a    violation     of Fla.       Stat.    §772.11(1) entitling

Counterclaimant All           Paving, Inc.    to treble     damages. On June 15, 2018, Counterclaim                     Defendants


were   provided a written demand, a copy                  of which is attached hereto         as   Exhibit "M", as      required by

Fla. Stat.     §772.11, to    which CounterclaimDefendantshave not                     complied.

             113.        Counterclaimant All        Paving,     Inc. has incurred substantial damages             legally caused

by the criminal violations and scheme alleged, including lost profits, remediation damages, and loss

due to theft.


             WHEREFORE, Counterclaimant All Paving, Inc. demand a judgment for damages against

 Counterclaim Defendants 3-D                  Paving        and Patrick       Daly    for compensatory          damages,        treble


 compensatory damages, costs, attorneys' fees, and such other relief as this                                court deems just and


 proper.




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                                                          COUNT IX
                            (CONSPIRACY TO VIOLATE FLORIDA'S CIVIL
                              REMEDIES FOR CRIMINAL PRACTICES)


          114.     Counterclaimant All            Paving,     Inc.   re-allege the allegations in paragraphs           1   through

51, and 105-113 supra,             as   if set forth   more   fully herein, except that this count is an independent

claim for     conspiracyagainst CounterclaimDefendant Elizabeth Daly.

         115.      The facts       alleged above       show that Elizabeth       Daly agreed and endeavored in active

concert and      conspiracy with          Patrick Daly and 3D             Paving to   violate Fla. Stat.     §772.103 and has

rendered substantial assistance, agreement                    or   ratification to their actions set forth in Count VIII


herein. Counterclaim Defendants Elizabeth                          Daly    and Patrick    Daly   had    an   independent       and


malicious personal stake in conspiring to violate Fla. Stat. §772.103 in order to                        destroy All Paving,

Inc.   as a   marketplace competitor with               3D    Paving. Counterclaim        Defendant Elizabeth          Daly    was



aware    of, condoned,       and ratified all of Patrick              Daly's   criminal activities      alleged   in   1[109   and


provided substantial assistance to             him.


          116.     Fla. Stat.      §772.103(4) specificallyprohibits conspiracy.

          117.     As   a   direct and proximate result ofthis malicious, intentional, and tortious conduct


by CounterclaimDefendants, Counterclaimant All Paving, Inc., has sustained substantial financial

daniages.

         WHEREFORE, Counterclaimant All Paving, Inc. demand a judgment for damages against

Counterclaim Defendant Elizabeth                       Daly    for compensatory          damages,      treble compensatory


damages, costs, attorneys' fees, and such other relief as this court deems just and proper.

                                                             COUNT X
                   (AIDING AND ABETTING VIOLATIONFLORIDA'S CIVIL
                         REMEDIES FOR CRIMINAL PRACTICES)


         118.      Counterclaimant All Paving, Inc.                  re-alleges the allegations in paragraphs 1 through

51 and 105-115 supra,         as   if set forth fully herein, except that this count is          an    independent claim for


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aiding    and   abetting a violation of Fla.     Sta.    §772.103.

      117.           As   a   direct and proximate result of this malicious, intentional, and tortious conduct


byPatrick Daly and 3D Paving, Counterclaimant All Paving, Inc., has sustainedsubstantial damage,

and Counterclaim Defendant Elizabeth                  Daly has substantially aided and           abetted Patrick   Daly and

3-D   Paving     in the violations set forth in Count VIII herein. Counterclaim Defendant has testified


in this   litigation that she was aware ofthe fraudulent PNC bank scheme that was implemented with

her consent and ratification. Counterclaim Defendant Elizabeth                           Daly    had   an   independent   and


malicious personal stake in           conspiring to violate Fla. Stat. §772.103           in order to   destroy All Paving,

Inc. for the benefit of a       marketplace competitor.

             WHEREFORE, Counterclaimant All Paving, Inc. demand a judgment for damages against

 Counterclaim Defendant Elizabeth                     Daly   for compensatory           damages,       treble compensatory


 damages, costs, attorneys' fees, and such other relief as this court deems just and equitable.

                       COUNT XI (RESTITUTIONFOR UNJUST ENRICHMENT


           118.      Counterclaimant All              Paving,    Inc.      realleges   and    incorporates by      reference


 paragraphs 1 -51       supra.

           119.      This is     an   action for restitution      against Counterclaim          Defendants Patrick    Daly,

 Elizabeth      Daly   and All     Paving   &   Sealcoating       a/k/a 3D     Paving    based   on   unjust   enrichment of


 CounterclaimDefendants.

           120.        All Paving, Inc. conferred benefits            on   Counterclaim Defendants.

           121.        CounterclaimDefendantshad                knowledge of the benefits.

           122.      The CounterclaimDefendants accepted or retained benefits conferred.


           123.      The circumstances          are   such that it would be            inequitable for      the Counterclaim

 Defendants to retain the benefits without                   disgorgement       or   paying   fair value for the benefits


 received.


           WHEREFORE, Counterclaimant All Paving,                          Inc. demands restitution and        disgorgement


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against Counterclaim Defendants, costs,                     and such other relief             as    this court deems       just   and


equitable.

                          COUNT XII (COMMON LAW UNFAIR COMPETION)


          124.     This is   an     action for     damages by Counterclaimant                        All   Paving,    Inc.   against

Counterclaim Defendant 3-D               Paving for common law                unfair     competition. Counterclaimant All

Paving,   Inc.   incorporatesparagraphs 1-51, 88, 89, and 94 supra,                        as   if more    fully alleged herein.

          125.     Counterclaimant All          Paving, Inc. and CounterclaimDefendant 3D paving                         are   direct


competitors      in the   same   geographicalmarket and compete                     for the   same   pool of customers.        In the


summer     of 2017, Patrick        Daly, individually and               on   behalf of 3D          Paving,   sent a letter to Mr.


Maxwell of Ranger Constructionacknowledging and ratifying the Business Divorce and informing


Ranger Construction that           All   Paving,   Inc. and 3D           Paving      had    recently split      into two separate


companies.       See attached Exhibit "N".


          126.     However,       as
                                       alleged supra, contrary to             its   representationsthat ALL Paving, Inc.

and 3D    Paving were separate companies                   and   marketplace competitors, Counterclaim                  Defendant

3D    Paving has engaged in deceptive and              fraudulent conduct that has caused customer confusion,


including deceptive         and    misleading marketing, deceptive                    and     misleading correspondence            to


paving industry        customers and         deceptive       and   misleading        direct contact with          paving industry

customers.       3D   Paving, by       and   through   its   president Patrick Daly, contacted                a   representative   of


Ranger Construction, Beatriz Ramirez,                  a   customer of All           Paving, Inc.      in the     summer     of 2017


misrepresenting All Paving,            Inc.'s license status and         ability to      conduct     business, and disparaging

All   Paving.    Inc. and its     officer, Daren Daly,           in order to obtain business for 3D                 Paving. Upon

informationand belief, 3D Paving by and through Patrick Daly has contacted other such customers

and   prospective     customers in order to        unfairly compete.                3D   Paving has promulgated false             and


misleading blast emails as alleged supra.

          127.     Counterclaimant All           Paving,         Inc. has incurred substantial financial                   damages


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including lost profits and remediation damages caused by the unfair competition.

           WHEREFORE, Counterclaimant All Paving,                       Inc. demands a judgment for compensatory


damages, injunction, and             costs   against Counterclaim      Defendant 3D       Paving,   and such other relief


as   this court deems just equitable.

                                                         COUNT XIII
            (CONSPIRACY TO COMMIT COMMON LAW UNFAIR COMPETION)

           128.    This is       a   claim     by Counterclaimant        All    Paving,    Inc. for   conspiracy against

Counterclaim Defendants Patrick                  Daly    and Elizabeth     Daly     for   conspiracy to    commit unfair


competition. Counterclaimant incorporatesby reference paragraphs 1 -51                           and 137-139, supra.


           129.    The facts         alleged   above show that Elizabeth           Daly   and Patrick     Daly agreed   and

endeavored in active concert and                conspiracy with       3D   Paving   to commit unfair       competition as

alleged in    Count XII and have rendered substantial assistance, agreement or ratification to their


actions set forth in Count XII herein. CounterclaimDefendants Elizabeth                           Daly and Patrick Daly

had   an   independent and malicious personal stake conspiring to                  commit unfair      competition in order

to   destroy All Paving,     Inc.


           130.    As   a   direct and         proximate    result of this      intentional,   and tortious conduct     by

Counterclaim Defendants, Counterclaimant All                       Paving, Inc.,   has sustained substantial damages,


including lost profits and harm to             its   reputation.

           WHEREFORE, Counterclaimant All Paving, Inc. demands a judgment for compensatory

damages, injunction, and costs against CounterclaimDefendantsPatrick Daly and Elizabeth Daly,

and such other relief as this court deems just and                 equitable.

                                                         COUNT XIV
            (AIDING AND ABETTING COMMON LAW UNFAIR COMPETITION)

           131.    This is   a   claim   by Counterclaimant All Paving,            Inc. for    adding and abetting unfair

competition against         CounterclaimDefendants Patrick Daly and Elizabeth                     Daly.   Counterclaimant


incorporatesby reference and realleges paragraphs 1 -51                    and   137-39, supra.


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          132.    The facts    alleged    above show that Elizabeth          Daly   and Patrick     Daly agreed   and


endeavored to aid and abet 3D          Paving in its unfair competition as alleged in          Count XII and have


rendered substantial       assistance, agreement or        ratification to their actions set forth in Count XII


herein.    Counterclaim Defendants Elizabeth               Daly   and Patrick    Daly    had   an   independent   and

malicious personal stake to aid and abet 3D               Paving's unfair competition in       order to   destroy All

Paving,   Inc.


          133.    As   a   direct and    proximate       result of this   intentional,   and tortious conduct     by

Counterclaim Defendants, Counterclaimant All                 Paving, Inc.,   has sustained substantial financial


daniages.

          WHEREFORE, Counterclaimant All Paving,                  Inc. demands a judgment for compensatory


damages, injunction, and costs against Counterclaim Defendants Patrick Daly and Elizabeth Daly,

and such other relief as this court deems just and           equitable.

                                                  JURY DEMAND


          Counterclaimants demand         a   jury trial on all issues triable by jury as a matter o f right.

                                        CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that            a   true and correct copy of the     foregoing   has been served by     e-



mail via the Florida Courts E-Filing Portal pursuant to Fla. R. Jud. Admin.               2.516(b)(1) to the below
                               th
named person(s) on this 8           day of July 2021 :

          Bruce A. Goodman, Esq.
          Bruce A. Goodman, P.A.
          Counsel for Plaintiffs
          5531 N. University Drive, Suite          101
          Coral Springs,    FL 33067
          Phone  (954) 919-6000
          Facsimile (754) 222-5122
          E-mail(s):




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                                  THE SOTO LAW GROUP

                                  Attorneys for Defendants, DAREN C.   DALY
                                  and JAMIE SCHINDLER, and Counter-
                                  Plaintiffs, DAREN C. DALY and ALL
                                  PAVING,INC.
                                  Coastal Tower, Suite 400
                                  2400 East Commercial Blvd.
                                  Fort   Lauderdale, FL   33308
                                  Phone:   (954)   567-1776
                                  Facsimile: (954) 567-1778
                                  Primary
                                  Secondary:
                                  Secondary:

                             By: is/ John P. Kelly
                                  JOHN P. KELLY
                                  Florida Bar No. 284289




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                     LIMITED LIABILITY PARTNERSHIP AGREEMENT
                                                   OF
   Ail Pavinq and Sealcoatinq -Located at 6714 NW                     20th Avenue, Fort Lauderdale
                                  Florida 33309


                                                            .th
         THIS AGREEMENT is effective as of the 8? day of                       May,   2013   (" Effective Date"),

and is     by, between and among Patrick Daly,             a   Florida Licensed Paving Contractor,


("Patrick"), and Robert Holland,         a   Florida resident,       CBob"), collectively, the foregoing
                                                                      .,

entities   being the "Partners" and individually a       "Partner.


                                             RECITALS:


         WHEREAS, the parties wish to form          a   Florida Limited Liability Partnership for the

sole purpose of     sharing    revenue   and expenses of the All           Paving and Sealcoating office
                           M
located at 6714 NW 20          Avenue, Fort Lauderdale, Florida 33309 and the parties wish to

set forth their duties,   obligations and rights with regard to same;

         NOW, THEREFORE, in consideration of the premises, mutual promises,

covenants, terms and conditions contained herein, and other good and valuable

consideration, the receipt and sufficiencyof which             are   hereby acknowledged, the parties

agree as follows:

         1.      FORMATION.         The parties hereby form                a    limited liability partnership,

pursuant      to the laws of the State of Florida          ("Partnership").            The business of the


Partnership shall be conducted under the          name    of All     Paving and Sealcoating located

at 6714 NW      20h Avenue, Fort Lauderdale, Florida 33309

       2.        TERM. The Partnership shall           commence on             the Effective Date and shall

continue until December 31, 2063 unless          sooner terminated as              provided herein.

       3.        PRINCIPAL PLACE OF BUSINESS. The                          principal place     of business of

                                                           M
the Partnership shall be located at 6714 NW 20                 Avenue Fort Lauderdale, FL 33309.



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The      principal place of business of the Partnership, and may change                         to any other


location in Broward         County, by unanimous determination of the             Partners.

           4.        PURPOSE AND POWERS. The purpose of the                       Partnership shall   be the


payment of costs and collection of any revenue geared to the operation of the All Paving

and     Sealcoating located at       6714 NW       20h Avenue, Fort Lauderdale, Florida 33309. To

further such purpose, the           Partnership shall have the      power to possess and lease any

Real     Property and perform contracts        and    obligations and     enter into leases related to the

All     Paving and Sealcoating, including,           but not limited     to, rent, maintenance, utilities,

insurance, reception area costs,            common area        supplies,   and all other costs for office


space all related to All        Paving and Sealcoating; provided, however, the written consent

of all Partners shall be necessary for the Partnership to carry              on   any such activities.

           5.        EXPENSES AND REVENUE OF PARTNERS.

                     a      Expenses. Each Partner shall be obligated for              an     equal share of

the expenses related to the          operation of All Paving      and   Sealcoating located at 6714      NW

  ,th
20z Avenue, Fort          Lauderdale, Florida 33309 which shall include, but not be limited to,

rent,    utility   expenses, wages, insurance,        reception   area   costs, overhead and       common


industry supplies.

                    b.      Revenue. The Partners agree to share Net Profits              according   to   an



Eighty-Five        to Fifteen   split.   Patrick   Daly    will be entitled to the     Eighty-Five (85%)

percentage share while Robert Holland will be entitled to the Fifteen (15%) percentage
                                                                                         .M
share of the All         Paving and Sealcoating Office        located at 6714 NW 20'           Avenue, Fort

Lauderdale, Florida 33309.




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         6.     FISCAL MATTERS.

                a.        Fiscal Year.       The fiscal year end of the          Partnership shall be

December 31 st,        or as     otherwise determined by unanimous vote               or   consent of the


Partners.

                b.        Books and Records.          Proper books and records shall be kept with

reference to all Partnership transactions, and each Partner shall at all reasonable times


during business hours have access to            same.      The   Partnership shall   cause   quarterly and

annual financial statements of the Partnership to be              prepared   and made available to the


Partners. Such statements shall be unaudited. All expenses incurred in maintaining the

books and       records, including accounting services performed by certified public

accountant(s) and preparation of Partnership income tax returns,                 shall be borne     by   the


Partnership.

                C.       Bank Accounts.          All of the funds of the         Partnership shall be

deposited in its     name   in   an   account or accounts maintained at such financial institution

or   institutions designated by the Partners.

                d.       Working Capital Needs            of the Partnership.   To the extent that the


Partnership's Cash Flow is insufficient to        meet all the expenses and/or obligations of the


Partnership (as      set forth   above), each Partner agrees to contribute one-half (1/2)           of any


deficiency; provided, however, if          any Partner fails to      completely fund its one-half (1/2)

share of such deficiency, then the other Partner may loan such unfunded amount to the


Partnership for thirty (30) days and         such loan     CDeficit Loan"),   unless otherwise agreed


by the Partners, shall bear interest at the           rate of five   (5%) percent per      annum.   All of

such loans shall be       repaid prior     to any distribution of Cash Flow or         payment of any

compensation to the Partners.
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       8.      MANAGEMENT OF PARTNERSHIP AFFAIRS.

               a.          Control.     Control of the     Partnership and all of its affairs and        the


management and conduct of the Partnership business, investments and activities shall

be with the Partners.

               b.     Personnel.          The    Partnership       may      employ      such    secretarial,

administrative, labor and estimating personnel as the Partners determine, by                    unanimous


vote, is necessary for the proper and efficient conduct of the Partnership and its

business.

               d.          Partnership Dutjes.            The   Partnership shall be in charge of

maintenance of books and records, maintenance of client files, billing clients, leasing

and   purchasing      of    equipment, providing          for   equipment     maintenance and        repair,

ordering, stocking, accounting and maintaining an inventory of supplies, and otherwise

executing any and all documents including, but                  not limited   to, contracts, evidence     of


indebtedness, security agreements and financing statements,                      as    the Partners shall


consider to be necessary and expedient to carry out and effectuate the purposes of the

Partnership.

               e.          Prohibited    Actions.         Except   as   otherwise provided          in   this


Agreement, no Partner,           without the unanimous authorization by         or   written consent of the

Partners, shall have authority to:

                           (1)     do any act in contravention of this        Agreement;

                        (2)        do any act which would make it           impossible     to carry on the


business of the     Partnership;

                        (3)        possess    Partnership property or assign the right of the

Partnership or its Partners in specific Partnership property for other than                 a   Partnership
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purpose;


                                (4)      on   behalf of the          Partnership, make,        execute or deliver any


lease of real property, personal                property        or   the   acquisition   or   purchase of any        real   or



personal property other than those items of personal property purchased in the ordinary

course     of business, any            general assignment for the benefit of creditors,                    or   any bond,

promissory notes, mortgage, guarantee, indemnity bond                             or   surety bond:

                            (5)          assign, transfer, pledge, compromise                  or   release any claim of

the    Partnership (provided, however,                  each Partner is       permitted to reasonably reduce any

client bill for any     reason         whatsoever),       or   arbitrate or consent to the arbitration of any of

its   disputes or controversies;

                            (6)          make, execute or deliver any deed, long term ground lease

or    contract to   sell, all   or    any part of the     Partnership property;

                            (7)          confess    a   judgment against the Partnership;

                            (8)          amend   or     otherwise change this            Agreement      so as   to   modify

the rights   or   obligations of the Partners as set forth herein;

                            (9)          create any       personal liability     for any Partner other than that


personal liability to which            any Partner may have agreed to in                 writing;

                            (10)         admit a person           as   Partner, except         as   otherwise provided

herein; or

                            (11)         Patrick Daly       reserves       the right to transfer his partnership

interest to his heirs, Robert Holland must                     provide Patrick Daly the first right of refusal on

Robert Holland percentage of the                    partnership otherwise              any transfer is void in the

Partnership.

                  f.        Meetings          and       Written       Consents.          The    Partners    may       hold

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Partnership meetings         at such       places and times,        and with such      formalities,      as   selected


by the Partners, except        as    may otherwise be          required by       law. The Partners shall          keep

minutes of all the      meetings,        and the minutes,      as   well   as   any and all written consents of

the Partners, shall be      placed in      a    minute book for the        Partnership.

           9.     OWNERSHIP OF ASSETS. The Partners agree and                               acknowledge that          it


is not intended that any real              or   tangible personal property            now   owned        or   hereafter


acquired by the individual Partners and utilized by the Partnership or intended                                  to be

utilized   by   the   Partnership,   if any, is intended to be transferred into the                     Partnership's

name.       Notwithstanding       the    foregoing,     real and    tangible personal property, including

improvements placed          or   located thereon, to be utilized by the Partnership may be

acquired by the Partnership after the date hereof in the Partnership's name and                                shall be


owned      by the Partnership,      if   agreed by unanimous          vote of the Partners. Each Partner


hereby expressly waives the right to require partition of any Partnership property or any

part thereof.

          10.     RESTRICTION ON ENCUMBRANCES.                              No Partnership interest shall be


pledged, mortgaged, encumberedl hypothecated                        or   otherwise    disposed      of in any way


without the unanimous written consent of the Partners, unless provided otherwise

herein.


          11.    VOLUNTARY LIQUIDATION OF PARTNERSHIP.                                           This    Partnership

agreement may be terminated by any of the Partners.

          12.    COVENANT NOT-TO-COMPETE.                            There shall be         no   covenant not to


compete upon termination of this Agreement.

          13.    MISCELLANEOUS PROVISIONS.

                 a.       Amendments.             The    provisions        of this   Agreement may             not   be

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amended, supplemented, waived               or   changed orally,      but only by     a    writing signed by the

party   as   to    whom enforcement of any such amendment,                            supplement, waiver               or



modification is        sought and making specific reference to this Agreement.

                   b.       Assignments.         No party shall        assign his          or    its    rights   and/or


obligations hereunder without the prior written consent of the other parties.

                  c.        Attorneys'   Fees.    If any    legal   action   or   other   proceeding is brought

for the enforcement of this Agreement,             or   because of an        alleged dispute, breach, default

or    misrepresentation        in    connection with        any     provisions of         this   Agreement,          the


successful       or     prevailing party   or    parties shall be entitled           to    recover        reasonable


attorneys' fees and         expenses, court costs and all expenses                even    if not taxable       as   court


costs   (including,      but not limited to, all    attorneys' fees          and expenses incident to any


appeals), incurred in that action          or   proceeding,       in addition to any other relief to which


such party   or   parties may be entitled.

                  d.        Counterparts.       This Agreement may be executed in                       one or more



counterparts, each of which shall be deemed                  an   original, but all of which together shall

constitute   one        and the   same   instrument.        Once each party to this               Agreement has

executed     a   copy of this     Agreement, the Agreement shall              be considered            fully executed

and   effective, notwithstanding that all parties have not executed the                    same        copy hereof.

                  e.        Entire   Agreement. This          Agreement            represents            the     entire


understanding and agreement between the panies with respect                               to the       subject matter

hereof, and supersedes all other negotiations, understandings and representations (if

any) made by and between such parties.

                  f.        Notices. All notices, requests, consents and other communications


required   or    permitted under this Agreement shall be in writing (including telecopy                               or


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facsimile        communication) and shall be (as                    elected    by the person giving such notice)

hand delivered                by messenger or        courier service,     or   mailed    (airmail   if   international) by

registered          or    certified mail (postage prepaid), return receipt requested, addressed to

such address              as   any   party may designate by notice complying with the terms of this

Section.         Each such notice shall be deemed delivered                       (a)   on    the date delivered if         by

personal delivery; (b)               on    the date of transmission with confirmed                  answer        back if   by

telecopy       or    facsimile; and (c)         on    the date upon which the return              receipt    is   signed     or



delivery is refused                or     the notice is       designated by the postal authorities                   as     not


deliverable, as the case may be, if mailed.

                         g.       Venue and Jurisdiction.           Any suit,   action   or    other     legal proceeding

arising out of            or   relating   to this   Agreement shall      be brought in        a   court of the State of


Florida, Broward County.

                         h.       Waiver.     The failure      or   delay of any party        at any time to         require

performance by another party of any provision of this Agreement,                                  even    if known, shall

not affect the           rights   of such   party to require performance of that provision or to exercise

any   right,     power or         remedy hereunder, and             any waiver    by    any   party of any breach of

any provision of this Agreement should not be construed                             as a      waiver of the       provision

itself,   or a   waiver of any right, power              or   remedy under this Agreement. No notice to                     or


demand         on   any party in any         case    shall, of itself, entitle such party to any other or further

notice    or   demand in similar or other circumstances.




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      IN WITNESS      WHEREOF,     the   parties   to this     Agreement   have executed this


Agreement as of the date first written above.

WITNESSES:                               Patrick   Daly,
                                         a   Florida-rnsident, Partner

                                                   Ya-CDn                     /
J,f-&                0#19/Iz
                                         PatricR Daly,
                                                              President?,?
     SEM FuhmW.F                         Date:


              (SIGNATURES CONTINUE ON             THE FOLLOWING         PAGE)

                                         Robert Holland,
                                             Florida resident,
                                         a
                                                                   Part,r


                                         Robert
                                                     J   it
                                                                      Z.Z27
                                                   Hpjiknt Vice Presiddnt
                                         Date:      VQ-Cgczol'3




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    AGREEMENT TO TERMINATE LIMITED LIABILITY PARTNERSHIP
AGREEMENT OF ALL PAVING AND SEALCOATING AND TO TRANSFER
                                                        ROBERT
      HOLLAND'S INTEREST IN THE COMPANY TO PATRICK DALY

         THIS AGREEMENT dated the
                                              J# day      of January, 2019 is made and enteredinto
                                                                                                   by and

among ROBERT HOLLAND
                                            -

                                    C'BOB '), PATRICK DALY ("PATRICK"h ELIZABETH DALY

("ELIZABETH") and ALL PAVING & SEALCOATING LLC C'COMPANY") (collectively, the

"Parties").

         WHEREAS, BOB and PATRICK previously entered into a                    Limited   LiabilityPartnership

Agreement       of All   Paving And Sealcoating    dated   May 8,     2013 and   signed on August 19,   2013

("Partnership Agreement''); and

         WHEREAS, the Parties are enteringinto this Agreement in order to terminate thePartnership

Agreement andtransfer all ofBOB's interest inthe CompanytoPATRICK,

t



         NOW, THEREFORE, in consideration of the foregoing and other good and valuable

consideration,the receipt ofwhich is hereby acknowledge,the Parties intending to be legallybound

agree   as   follows:

         1.       The    foregoing recitations are incorporatedherein.

         2.       EffectiveJanuary 1,2019, the Partnership Agreementisterminatedand all shares and

interests ofBOB in the COMPANY (his entire fifteen (15%) percent) aretransferredto PATRICK,


such that as of January 1, 2019, PATRICK shall have              a
                                                                     forty-nine (49%) percent interest in   the


COMPANY, and ELIZABETH shall continue to have                    a   fifty-one (51%) percent interest in    the


COMPANY.


         3.       BOB shall receive     a   total of   ?              for the transfer of his interest in the


COMPANY, and has previously received               1?                in payment of   same.    The   remaining



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               shall be paid by PATRICK to BOB no later than March
                                                                   31, 2019.

        4.        Any and allloans and advances previouslymade to BOB are being resolved by this

Agreement,     and BOB is not indebted to the     COMPANY, PATRICK and ELIZABETH in any

respect.

        5.

        ..




r.




1




r



       6.




       7.




       8.        Except for PATRICK's obligation to    pay BOB the $             due him pursuant to


paragraph 3 above, andtheCOMPANY'sobligationsto BOB pursuant toparagraphs 5 and 6 above,

the COMPANY, PATRICK, and ELIZABETH are not indebted or
                                                        obligated to pay BOB for any

loans and    advances, or for any past, present or future distributions ofprofits arising from BOB's

ownership interest in   the COMPANY.       Except for the obligations hereunder, BOB    releases any

claims against the   COMPANY, PATRICK and ELIZABETH arising from BOB's prior ownership

interest in the COMPANY.

       9.        BOB shall not at any time disparage, defame, discredit or portray in a negative
                                                                                                   light
the COMPANY, PATRICK or ELIZABETH, or
                                                  engage in any activity which would have the effect


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of   disparaging, defaming,     or   discrediting   the   COMPANY, PATRICK, ELIZABETH,                 or   the


COMPANY's members, managers, affiliates, officers, directors,                 employees or agents, in any way.

BOB shall not disclose to anyone any information          regarding the COMPANY which is non-public,

confidential, or proprietary.

        THE PARTIES have executed this Agreement                as   of the date indicated above.


                                                            AU,*GVING & SEALCO/r]1ING LLC                   CMGMCJ
ROBERHOLLAND                                                BMLAIZTX-EL?                t7ilii=Tfi;
                                                           ,.--IJTJTIUIZJULG
Date


                                                            PATRICK DALY
                                                                     .   #
                                                                             I-14-19

                                                                tb?h2? i31j
                                                            ELEABETHMALY
                                                                I 14119
                                                            Date




                                                                3
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                       ASSIGNMENT OF MEMBERSHIP INTERESTS

        ROBERT HOLLAND (hereinafter referred to as "Assignor")hereby assigns, sets over and
transfers to PATRICK DALY (hereinafterreferredto as "Assignee"),effective
                                                                          January 1, 2019, all
ofhis membership interests in ALLPAVING& SEALCOATINGLLC (consisting ofa 15% interest
in said Company), leaving Assignorwithout an interest in ALL PAVING & SEALCOATINGLLC,
and Assignee hereby accepts said assignment.


         TO HAVE AND TO HOLD the same unto the said Assignee, his respective successors and
assigns forever; and Assignor does forhimselfandhis successors and assigns, covenants and agrees
with said Assignee to specificallywarrant and defend title to the said
                                                                     membership interests assigned
hereby unto   the said Assignee, his   successors   and
                                                     assigns, against any and all claims thereto by
whomsoever made by or through the Assignor; and Assignor does, for himself, and his successors
and assigns, warrant and represent to the Assignee that the title
                                                                  conveyed is good, his transfer is
rightful; thatno consent orapprovalbyanyotherpersonorentityisrequired forthevalid assignment
by the Assignor to the Assignee of the membership interests referenced herein; and that the
membership interests are, have been, and shall be delivered free and clear from any security interest
or   other lien or encumbrance; and


        Assignor does, for himself, and his successors and assigns, warrant and represent to the
Assignee that there are no attachments, executions or other writs of process issued against the
membership interests conveyed hereunder; that he has not filed any petition in bankruptcynor has
any petition in bankruptcy been filed against him; and that he has not been adjudicated a bankrupt;
and Assignordoes, for himself, andhis successors,and assigns, warrant that he will execute
                                                                                           any such
further assurances of the foregoing warranties and representationsas maybe requisite.




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                                                          Assienc=-
               1                An
                                                         *T? +-(1
ROBEI0FHOLLAND                                        -JTTF.6295RTALT
                                                       PATRICK DALY



I)ate                                                     Date
                                                                 124-,9
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                    3-D       Paving & Sealcoating
                                 BALANCE SHEET

                              As of December 31, 2017




                                                                           TOTAL

     ASSETS
      Current Assets
       Bank Accounts
       10000 BB&T       -



                            Operating -                                   4,336.29
       10005 BB&T       -



                            Payroll -                                    11,812.24
       10010 BB&T       -



                            Savings-                                 213,665.13
       10025    Petty   Cash                                                  0.00

      Total Bank Accounts                                           $229,813.66
      Accounts Receivable

       11000 Accounts Receivable                                              0.00

      Total Accounts Receivable                                             $0.00
      Other CurrentAssets
       11005 Deferred Interest                                                0.00

       11025    Employee Cash Advances                                    6,961.73
       11040    Prepaid Insurance                                             0.00

       11050 Robert Holland         -

                                        Loan                             15,000.00
       12000    Undeposited Funds                                             0.00

       Deferred Interest (2013 Ford)                                          0.00

       Deferred Interest (2016 Isuzu NQR                                      0.00
       C rew)
       Deferred Interest (Corolla)                                            0.00

       Deferred Interest (Komatsu)                                            0.00

       Exchange                                                               0.00

       Uncategorized Asset                                                    0.00

      Total Other Current Assets                                     $21,961.73
      Total Current Assets                                          $251,775.39
      Fixed Assets
       15000    Machinery and Equipment                              556,869.92
       15005 Furniture & Office         Equipment                        27,442.75
       15010 Trailers                                                    67,916.82
       15015 Vehicles                                                488,401.18
       15020    y-All Paving,   Inc. Fixed Assets                             0.00

       17000 z-Accumulated Depreciation                             -320,105.81
      Total Fixed Assets                                            $820,524.86
      Other Assets
       17050 Due To /From All           Paving   INC                          0.00

      Total Other Assets                                                    $0.00
     TOTAL ASSETS                                                 $1,072,300.25

     LIABILITIES AND EQUITY
      Liabilities
      Current Liabilities
       Accounts Payable
        20000 Accounts Payable                                             422.90




           Cash Basis       Wednesday, June 19,    2019 08:01 AM GMT-7                1/3
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                                                                                    TOTAL

       Total Accounts Payable                                                      $422.90
       Credit Cards
        20005 American       Express                                              12,817.67
        20010      Capital One Business                                            9,380.57
        BBT Card      -                                                                0.00

        Capital Onel                                                                   0.00

       Total Credit Cards                                                     $22,198.24
       Other Current Liabilities
        24000      Payroll Liabilities                                               25.73

        24010      Deposits                                                       63,906.10
        Current Portion of               Long Term Debt                                0.00

       Total Other Current Liabilities                                        $63,931.83
      Total Current Liabilities                                               $86,552.97

       Long-Term Liabilities
        24015 Ally ($1,005.14) 2018
                      -
                                                        Isuzu                     48,795.08
       NQR     -
                   Acct.4875

       24020 Ally     -



                           ($1000.00)Asphalt Truck                                 1,926.79
       Acct 0036
       24025 Ally     -


                           2018( $1.006.00) Isuzu                                 48,749.16
       NQR     -

                   Acct. 3052
       24030 Ally-        ($1050.00) ConcreteTruck                                 2,238.79
       Acct 6681
       24035 Bank of America                    -



                                                    ($400.00)                     14,893.10
       2013 Ford F-250

       24050 CAT              -



                                  ($743.54) 242 D        Skid                     10,409.66
       Steer
       24055 CAT          -



                                  ($1,539.79)        262 D Skid                   92,380.40
       Steer
       24065 CAT          -


                                  ($4,525.40) Leeboy                          166,297.34
       $4,313.30 + $212.10 Insurance
       24080 John Deere                  -



                                              ($1,775.57)                         59,907.82
       Excavator Acct. 7222

       24085 Stearns               -



                                       ($411.71)      CAT Roller                  11,116.17
       Acct 8001

       24090 TD Bank Acct. 2459                       ($614.26)                   31,244.74
       Ford F-250
       24095 Toyota                 ($345.19) Acct.8771                           16,557.95
       2016 Tacoma

       24100 Toyota                ($325.51)        Acct. 9387                    13,337.19
       2015 Corolla

       24110 Wells            Fargo
                                          -



                                              ($244.33)   Acct.                   12,193.12
       3002 Vermeer Trencher

       24125 Wells            Fargo ($347.36) Vermeer
                                         -


                                                                                  17,368.00
       Stump Grinder
       NORTRAX         -


                              Bomag ($680.50)                                          0.00

       y-Notes Payable for All Paving,                    Inc.

        Ally Bank     ($959.66 )                                                       0.00

        Bank of America                 ($448.15)                                      0.00

        Caterpillar Financial Services                                                 0.00

        ($2,555.71)
        Komatsu Financial ($1094.42)                                                   0.00




          Cash Basis              Wednesday, June 19,       2019 08:01 AM GMT-7                2/3
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                                                                      TOTAL

       Total   y-Notes Payable for All Paving,                          0.00
       Inc.
      Total    Long-Term Liabilities                             $547,415.31
      Total Liabilities                                          $633,968.28

      Equity
      30000 Members Capital Contribution                                0.00

      30700 Members Draw                                         -244,740.00
      32000 Members        Equity                                 301,031.71
       Net Income                                                 382,040.26
      Total   Equity                                             $438,331.97
     TOTAL LIABILITIES AND EQUITY                              $1,072,300.25




           Cash Basis     Wednesday, June 19,   2019 08:01 AM GMT-7                3/3
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  April 14,2017


  Bank United
  2895 N   University Dr.
  Coral Springs, FL 33071



 RE: All   Paving Inc Bank Accounts


 Dear Sirs,




Please close the accounts listed below. Proceeds in these
                                                          accounts are to be
wired and distributedaccording the disbursement schedule below.
further requegte for transactions in these accounts.
                                                                   Reject any

                    Account #

Checking Account:
CheckingAccount:
Checking Account:                                                               i
CheckingAccount:
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  Please transfer the amounts indicated to the accounts described in the
  attached exhibit.



   Balance to Be Dislributed
   as Follows:




  Wire Transfer #I
                                                             R.Wr.rs     M,t

  2016 Payroll Adjustment               AN      110,713.24 263191387

  2017 Payroll 1/1-3/17         hNYY'          156,746.11 263I91387

  2016 Patrick Daly Salarf
                           'r   IV.IW    ,,
                                         11    46200.00     263191387



  Subtotalto LLC BB&T             'MpiM
  Account                        313,65935


  Wire Transfer # 2                                                      ,Ac-4:NWMR

  2016 Patrick Daly                            28,800.00   267077627
                      Salary??
 2016*17 QualifringFee                         31,000.00   267077627


 Subtotal to PatrickDaly
 Account                         $59,800.00
                                                ,EE,Q$Ii
 Wire Transfer#3

 BalanceFoiwardAfter Distributionsto Suntrust                             n.0..A
                                                           M-t.j
 Aooount                                                   063102152

Please provide written confinnationthat the account is closed

If you have any questions, please contact meat the phone number below.




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   ThankyoU,



                                      33076?0??????????0?
   Daren Daly
  Eyb381     62*ui Ct; Parkland, FL



  STATE OF FLORIDA


  99EMP, Fe                                   appeaied-L,?                    of
  All PA/WgJjLjibl'aWn-dy        known   to me  or,presented
                                 ntification, and who is known to me to be lile
  person described in and who executed the foregoing instrument, and
  acknowledged to me that he/she executed said instrument in the capacity and
  for lhe purpose therein expressed.

  Signature or Notaiy:

 PrizU
   0,#a-,BAE.
    MRMMMNLR

     MMUMMM

 Patrick   Daly
 8g?c???og?Manor; Coral Springs,
            9502
                                       FL 3307                   iDa
                                                                 %,J


STATE OF Pl,ORIDA

BEFORE ME, the     Umdersigned, personally                          of
ALL PAVING who is    personally known to me or presented f4ZZN2ues*vs
                   2220 as identification,and who is known t me to be the
person aescnbea In and who executed the   fofegoing instrument and
acknowledged to me that he/she executed said instwment in the capacity and
for the purpose therein expressed.

Signature of Notary:
                                                                                       1
Printed Name of Notaiy:
     -&.-    ammm/B
   ,--NEYFUBWO
(NO'jUI151068
     M QWMAMMB



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                                                         i
 Elizabeth Daly
 **Manor; 6059
                          Coral   Springs, FL 33071


 STATE OF FLORIDA

 BEFORE   ME, the undersigned, personally      appearecl???&?l.??
                                                  presented -fZC*#it./ df
                                                                           of
                                                                          k.3<L
                        persoRally lmown to
                   '

                                              me or

                           as identification, and who is known to me to be the

--per@ET-3EiEEE      and  who   executed the foregoing insbument, and
               to
 acknowledged me      tha.t he/she executed said instrument in the capacity and
 for the purpose therein explessed.


 Signature of Notary:
                                      IiNMHAnn           Sn IM
 PrinteDNameofNOMr.                     L,-8-




  .Q,.,2610




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      E                  -11
                  Case 22-15694-SMG           Doc 69    Filed 10/24/22    Page 96 of 127




                 Electronic Articles of Incorporation                          P13000077541
                                                                               FILED
                                         For                                   @eptqm ber 19,   2013
                                                                               Set. Of State
                                                                               jbryan
      ALL PAVING, INC.




The  undersigned incorporator, for the purpose of forming a Florida
profit corporation,hereby adopts the following Articles of Incorporation:

                                  Article I
The   name   of the   corporation is:
      ALL PAVING, INC.




                                  Article II
The principal   place    ofbusiness address:
      8439 NW 20TH PLACE
      CORAL SPRINGS, FL.        33071


The mailing address of the      corporation is:
      8439 NW 20TH PLACE
      CORAL SPRINGS, FL. 33071



                                  Article III
The purpose for which this       corporation is organized is:
      ANY AND ALL LAWFUL BUSINESS.




                                  Article IV
The number of shares the       corporation is   authorized to issue is:
      100


                                  Article V
The   name   and Florida street address of the    registered agent is:
      DAREN C DALY
      8439 NW 20TH PLACE
      CORAL SPRINGS, FL. 33071

Icertify that I am familiar with and accept the responsibilitiesof
registered agent.
Registered Agent Signature:    DAREN DALY
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                                                                                       P13000077541
                                                                                       FILED
                                                                                       @eptqm ber 19,   2013
                          Article VI                                                   Set. Of State
The name and address ofthe incorporator is:                                            jbryan
         DAREN DALY
         8439 NW 20TH PLACE

         CORAL SPRINGS, FL 33071


Electronic       Signature of Incorporator:   DAREN DALY

I   am   the   ineorporator submitting these Articles of Incorporationand
                                                                    affirm that the facts stated herein are
true. I    am aware                                    document to the Department of State constitutes a
                       that false information submitted in   a
third degree felony as provided for in s.817.155, F.S. I understandthe requirementto file an annual report
between January 1 st and May 1 st in the calendar year following formation ofthis corporation and every
year thereafter to maintain "active" status.

                                       Article VII
The initial officer(s) and/or director(s) of the corporation is/are:
                       Title: P
                       JAMIE A SCHINDLER
                       8439 NW 20TH PLACE
                       CORAL SPRINGS, FL. 33071

                       Title: VP
                       DAREN DALY
                       8439 NW 20TH PLACE
                       CORAL SPRINGS, FL. 33071

                       Title: VP
                       PATRICK DALY
                       8919 NW 20TH MANOR
                       CORAL SPRINGS, FL. 33071

                                       Article VIII
The effective date for this         corporation shall be:
         09/19/2013
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Filing #   99668733 E-Filed 12/02/2019 05:46:53 PM




                                                                         IN THE CIRCUIT COURT OF THE
                                                                         17TH JUDICIAL CIRCUIT IN AND
                                                                         FOR BROWARD      COUNTY,   FLORIDA


           ALL PAVING,       INC.,   a   Florida corporation;            CASE NO: CACE 17-014794    (03)
           ALL PAVING & SEALCOATING LLC,                   a

           Florida limited
                      liability company; PATRICK
           DALY and ELIZABETH DALY,


                  Plaintiffs,

           V




           DAREN C. DALY and JAMIE A.                SCHINDLER,

                  Defendants.
                                                                         i


                                                NOTICE OF FILING AFFIDAVIT


                  Defendants, DAREN C. DALY and JAMIE A. SCHNIDLER, by and through their
           undersigned counsel, hereby gives notice of filing the Affidavit of Daren C. Daly dated December
           2,2019.

                                                  CERTIFICATE OF SERVICE


                  I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by e-
           mail via the Florida Courts E-Filing Portal pursuant to Fla. R. Jud. Admin. 2.516(b)(1) to the below
                                          nd
           named person(s) on this 2           day of December, 2019:

                  Bruce A. Goodman, Esq.
                  Bruce A. Goodman, P.A.
                  Counsel for Plaintiffs
                  5531 N. University Drive, Suite         101
                  Coral Springs, FL 33067
                  Phone  (954) 919-6000
                  Facsimile (754) 222-5122
                  E-mail(s):


                  Jeffrey E. Streitfeld
                  Special Magistrate
                  101 NE 3rd Avenue, Suite 1500
                  Fort Lauderdale, FL 33301

                  Email(s):                                     com
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                                 THE SOTO LAW GROUP

                                 Attorneys for Defendants
                                 Coastal   Tower, Suite 400
                                 2400 East Commercial Blvd.
                                 Fort   Lauderdale, FL   33308
                                 Phone:    (954)   567-1776
                                 Facsimile: (954) 567-1778
                                 Primary
                                 Secondary:
                                 Secondary:

                             By: is/ John P. Kelly
                                 JOHN P. KELLY
                                 Florida Bar No. 284289




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                                                                 IN THE CIRCUIT COURT OF THE
                                                                  17TH JUDICIAL CIRCUIT IN AND
                                                                 FOR BROWARD           COUNTY, FLORIDA

ALL PAVING,      INC., a Florida corporation;                    CASE NO: CACE 17-014794 (03)
ALL PAVING & SEALCOATING LLC, a
Florida limited liability company; PATRICK
DALY and ELIZABETH DALY,


           Plaintiffs,

V.



DAREN C. DALY and JAMIE A. SCHINDLER,


           Defendants.



                                         AFFIDAVIT OF DAREN DALY


I,   Daren     Daly, having       been   duly   sworn,   hereby deposes   and states   on   personal knowledge   as



follows:


      1.   This affidavitencapsulates my        prior depositiontestimony and the admissions by the Daly
           Plaintiffs in this litigation. It is being filed in rebuttal to the affidavits filed by the Plaintiffs
           on or about November 19,2019.




      2.   I   am   the   owner   and in sole control of All   Paving, Inc.

      3.   I   am   the sole
                          incorporator of All Paving, Inc. on September 19, 2013, as confirmedby the
           records o f the Florida Secretary of State. Plaintiffs admit this.


      4.   Upon my incorporation of All Paving Inc., I obtained a federal tax identificationnumber
           with the IRS.

      5,   Iincorporated the corporation with the intention to provide Jamie Schindler with 80% of
           the All Paving, Inc. corporate shares, Patrick Daly with 10% of the All Paving, Inc.
           corporate shares and myself with 10% of the All Paving, Inc. corporate shares, I created
           an excel spreadsheet at the time
                                            showing my intentwith this distributionof corporate share
           ownership.  The metadata   on the excel sheet cites this.


      6.   In fall 2015 All       Paving,   Inc. commenced business
                                                                  operations in the marketplace with the
           understanding that I            the CEO and COO in control of all business conducted by All
                                         was

           Paving,        Inc. and with the mission to develop an autonomous company with a different
           business plan than All Paving &           Sealcoating,LLC. Both companies would benefit from a
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     sharing of expenses, Since inception I have been in control of All Paving Inc running the
     proj ects, sales, taxes, operations, marketing,planning, legal items and hiring/firing.

7.   All Paving, Inc., under my control, and All Paving & Sealcoating, LLC, under Patrick
     Daly's control, had sharedbusiness operations betweenfall 2015 and April 2017 whereby
     each company shared niarketing,payroll, and equipment, among other business expenses.
     The expenses were reconciled by Steven Berkman a/lda Steven Joseph (Plaintiffs' office
     manager and bookkeeper who continued in the employ of 3-D Paving after May 2017).


8.   This aiTangementbenefited both       companies. In fact, as reflected on the financials of both
     companies,   each company had substantial growth.


9.   All   revenue ever   earned   by All Paving, Inc. has been reported on federal income tax
     returns filed by All Paving,   Inc., under my signatureand with the federal tax identification
     number I obtained in 2013.


10, Elizabeth Daly agreed in 2015 and 2016 to provide equipment financing gum'anties to All
     Paving, Inc. As Steve Berkman a/k/a Steven Joseph has deposed, this was done to enhance
     Elizabeth Daly and All Paving & Sealcoating, LLC's efforts to obtain woman-owned
     disadvantaged business certification for All Paving & Sealcoating, LLC. All Paving, Inc.
     never applied for disadvantaged business certification.Use of this
                                                                             guaranteed equipment
     was shared by both companies. Following the spring 2017 divorce between All
                                                                                             Paving,
     Inc. and All Paving & Sealcoating,LLC n/k/a 3-D Paving, institutedby the Daly Plaintiffs,
     neither Patrick Daly nor Elizabeth Daly has any liability on personal guaranties or any
     other liability to third parties vendors or financial institutions relating to All Paving, Inc.


11. An   operating account was opened at Bank United for All Paving, Inc. in September 2015
     with me Elizabeth Daly and Patrick Daly as co-signatures on the account. This was
     requested by the Daly Plaintiffs because they would be on equipment guaranties. It is
     factually incorrect for Elizabeth Daly to state that all Bank United documents were
     prepared and executed simultaneously in the presence of each other. Rather, I was
     presented documents to sign that had been previously prepared, I did not see or agree to
     any bank-created "beneficial ownership" documents purporting to acknowledge that
     Elizabeth Daly was a 75% owner ofA11 Paving, Inc. pursuant to a prior Board of Directors
     resolution-which of course never occurred and does not exist, In fact, I had left the bank
     only seeing the pages I had to sign because the paperwork was going to take a while. I
     was not given a copy of the beneficial ownership certification, nor did I sign a beneficial

     ownership certification.

12. I     always the principal contact with Bank United on the All Paving, Inc. Bank United
        was

     bank account, as acknowledgedby Bank United in recent depositions. I alone ultimately
     opened other All Paving, Inc. bank accounts at this bank and other banks.

13. As admitted in her deposition, Elizabeth Daly was never transferred any stock in All
    Paving, Inc. by either Jamie Schindler or me at any time. Likewise, PatrickDaly was never




                                                 2
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   transferred any stock in All        Paving, Inc.     in addition to the 10%       acquired at   the time of
   incorporation.

14. Jaimie Schindler relinquished her All       Paving, Inc. stock to      me   in   January 2016   when she
   became  employed by the federal government.               That   was   later memorialized in      a   written
   assignment.

15. In their August and  September 2019 depositions, Elizabeth Daly and Patrick Daly have
   deposed that in  September or October 2015 Patrick Daly "gave" me 15% of All Paving,
   Inc, stock and Elizabeth Daly 75% of the All Paving, Inc. stock (after having presumably
   somehow magically previously obtained 100% of the All Paving, Inc. stock from me and
   Jamie Schindler.) This position is inconsistent with their present claims, illogical and
   belied by the facts. I could not give any such stock to Patrick Daly because I only had a
   10% interest, Likewise, I could not give Jamie Schindler's stock to Patrick Daly. There is
   absolutely no evidence whatsoever reflectingthe transfer and delivery of All Paving, Inc.
   stock to either Patrick Daly or Elizabeth Daly at any time. Rather, this is a figment of
   their imaginations.


16. Between late 2016 and May         22, 2017, Patrick Daly voluntarily instituted along with All
   Paving and    Sealcoating LLC covertly-planned divorce from All Paving, Inc. Since this
                                       a


   planned divorce I have continued to run All Paving, Inc. as I did before
                                                                            handling the hiring
   and firing of employees,supervision of employees, management, customer relations, and
   business development. Ipersonallyprocured well over 90% of the business for All Paving,
   Inc. since day one.


17. Elizabeth   Daly   never   owned
                                   controlled any paving business. She had no training or
                                       or

   experience in the paving business, as determined by the federal government in 2016. At
   allpertinenttimes she was a full-time salaried worker with a home health care company
   and an occasional voluntary clerical worker for All Paving & Sealcoating, LLC. The All
   Paving and Sealcoating LLC partnership agreement shows the true owners of All Paving
   and Sealcoating LLC-Patrick Daly and Robert Holland.


18. In late 2016 the Daly Plaintiffs informed me that they wanted to place Elizabeth Daly on
    the payroll of All Paving, Inc. for "workers' compensation" purposes. I objected, which
    led to the beginning ofthe end ofthe shared business operations between All Paving, Inc.
   and All   Paving & Sealcoating, LLC. Elizabeth Daly threatened to shut down the All
   Paving,   Inc, bank account at Bank United; I took remedial action to protect All Paving,
   Inc,


19. Unbeknownst to me, and       as   admitted by the Plaintiffs and Steven Berkman a/k/a Steven
   Joseph in their depositions,       in March 2017 Patrick Daly, Elizabeth
                                                                    Daly, Steven Joseph
   and Keith Daly worked together to obtain a domain name, 3-D Paving.com with the intent
   to divorce their operations from All Paving, Inc.


20. On    May 22, 2019   the Plaintiffs filed   afictitious name registration for "3-D Paving and
   Sealcoating"   with the Florida      Secretary of State, thus abandoning their right to use "All



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      Paving" in       the   marketplace, which previously was a fictitious name used by both my
      company, All Paving, Inc., and        by Atl Paving & Sealcoating, LLC, as part of the shared
      business operations.

21. On        April 14,   2017 I entered into      an   agreement with the Daly plaintiffs at Bank United
      with respect to        a   reconciliation between the two   companies. Pursuant to the reconciliation
      between the   companies, on April 14, 2017                 $313,659,35 was wired to All Paving &
      Sealcoating, LLC and $59,800.00 to Patrick Daly. A six-figure balance in the Bank
      United accounts was held without restriction by All Paving, Inc. under my exclusive
      control. Since this date to current I have been under exclusive control of all All Paving
      Inc funds and payments,



22. Unbeknownstto me, Patrick Daly had opened an account at PNC Bank on or about April
    7, 2017 in the name of All Paving, Inc. and proceeded over the next several months to
      divert       $300,000.00 of customer revenue that would otherwise have been due All
                over

      Paving, Inc. during the shared business operations, to All Paving & Sealcoating or himself.
      None ofthese monies that were paid by customers where All Paving, Inc. had performed
      the work in any way inured to the benefit of All Paving, Inc. Rather the payments were
      diverted to 3-D Paving and Patrick Daly. I did not agree to this diversion of funds done
      without my knowledge, I eventually had the fraudulent account shut down by PNC Bank,
      but only after the theft had occurred. I have demanded a repayment of these funds to All
      Paving, Inc., which was refused. A lawsuit was filed in Broward County to recover these
      funds.


23, Patrick Daly was never a licensed qualifier for All Paving, Inc. During the roughly 18-
    month shared business operations period, All Paving, Inc. with Patrick Daly's permission
      would use Patrick Daly's All Paving &               Sealcoating license or another contractor's license
      to qualify jobs-a             practice
                                  common                in theindustry. Patrick Daly received -as agreed--
      $58,300,00 as part of the Bank United final reconciliation to compensate him for use of
      his All Paving & Sealcoating,LLC license. However, the only person who has ever been
      a licensed qualifier for All Paving, Inc. is me.



24. The      Daly Plaintiffs without prior notice to me moved out of the share offices of All
      Paving & Sealcoating, LLC and All Paving, Inc. on or about May 22, 2017. They took
      files, equipment and employees that they deemed theirs to launch 3 -D Paving. That was
      also the day that they acquired the fictitious name "3-D Paving" and by law abandoned
      their right to use "All Paving" in their business operations. The Daly Plaintiffs proceeded
      to disseminate mass mailings and customer correspondence informing the marketplace
      that they had divorced themselves from my company and were launching 3-D Paving.


25. The obvious scheme               by the Daly   Plaintiffs was   a
                                                                        conspiracy to   cause   All Paving, Inc to
      fail.

26.   Having failed with their spiteful scheme, in July 2017 the Daly Plaintiffs concocted phony
      documents purporting to establish that they were directors and majority shareholders of




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    All Paving, Inc. solely in order to also launch this frivolous lawsuit. These documents are
    completely ultra vires under the Florida Business Corporation Act because only I as the
    incorporator could complete the organization of the coiporation pursuant to Fla. Stat.
    §607.0205(1)(b).

27. In   fact,   the   Daly   Plaintiffs have admitted in their 2019       depositions    that   they   are   not
    directors.

28. Pursuant to Fla. Stat.   §607.0205(1)(b), on July 3, 2019 I completed the corporate
   organization, appointed a director, issued stock and a corporate book that properly
   confirmed, adopted and ratified the valid corporate action of All Paving, Inc. retroactive
   to the date of incoiporation.


29. Neither Patrick        Daly   nor   Elizabeth Daly has had any involvement whatsoever in All
   Paving,       Inc. since at least      May 22, 2017; rather their effoits have been devoted to
   competing with All Paving, Inc. in the marketplace as 3-D Paving, including business
   disparagement and theft of funds through a diversion scheme. Meanwhile, I continue in
   full and unfettered control and ownership ofA11 Paving, Inc.


30. ElizabethDaly was never in control of,               or   running   in any   manner    All   Paving       and
   Sealcoating LLC, let alone All Paving Inc.

31. I obtainedthe domain name All            Paving.com from     a   third party in February 2016. I asked
   Patrick Daly whether he          was   interested in purchasing the domain       name for All Paving &

   Sealcoating LLC,   and he declined. I purchased for my own account and not as an agent
                       ,


   or nominee for All Paving & Sealcoating, LLC. The domain name was in a Go Daddy
   account previouslyobtained by Patrick Daly, who had allowed me to store numerous other
   domain names I had obtained over the years.


32. Isubsequently agreed to allow the joint use of the domain name by both companies as
   part ofthe joint marketing operations. Atno time did Itransfer the domain name to Patrick
   Daly or All Paving & Sealcoating,LLC. As part of the business divorce that occurred in
   spring 2017, it was understood that only All Paving, Inc. would be using the domain name
   in its business operations. In fact, 3-D Paving flda All Paving & Sealcoating, LLC had
   acquired a domain name, 3-D Paving, for its exclusive use.

33. In March 2017 it was agreed as part ofthe business divorce that All Paving &
                                                                            Sealcoating,
   LLC's     use   of All     Paving.com   would be
                                            phased out, On or March 15, 2017, I received
   notice from Go Daddy that the allpaving.com domain name was moved out of Go Daddy
   account. As a result, the company emails are shut down.


34. On March 16, 2017 Patrick Daly stated that it was a mistake and that they intended to
    take All Paving & Sealcoating.com out of the Go Daddy account and not All Paving.com
   as they knew that I owned the All Paving.com domain name. Patrick Daly then stated
   that now that they did get the All Paving.com domain name, he was using it as "leverage"




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          to   get   me   to follow    through   on   getting the   All   Paving, Inc. equipment refinanced   and
          their liability as guarantors removed,

    35. I did not    fraudulently alter any documents relating to All Paving.com. In spring 2017 I
          discoveredthat the unexecuted domain name purchase agreement created by the seller had
          incorrectly listed All Paving & Sealcoating,LLC rather than All Paving, Inc., I corrected
          the error in the documentationsentto Go Daddy. I also at Go Daddy's request send federal
          tax information pertaining to All Paving, Inc. to Go Daddy. Go Daddy made its own
          internal decision as to ownership and control of the allpaving.com domain name. On or
          about March 24, 2017, Go Daddy returned the domain name back to my Go Daddy
          account and the emails accounts were            restored,

    36. On      or   about March 28,
                                 2017, Patrick told the Defendants in a phone call that he wanted
          nothing to do with me or All Paving, Inc. going forward. This was done after a decision
          was made by the Plaintiffs to launch 3-D Paving without my knowledge. Patrick Daly

          wanted me to write him reimbursementchecks to All Paving & Sealcoating,LLC for 2016
          and beginning of 2017 and compensationchecks to him for 2016 and remove any liability
          on
             equipment financing for him and Elizabeth Daly. In return, the Plaintiffs would turn
          over to Daren all the checks written to All Paving, Inc. customers and
                                                                                 relinquishmentany
          claim to All Paving, Inc.


    37. On June        6, 2017,   in   a   conference call Patrick Daly stated that he
                                                                                reneging on the
                                                                                            was

         April 14, 2017 agreement and was instead holding All Paving, Inc, hostage by holding
         over $250,000.00 in a PNC bank account as "collateral"for Daren to
                                                                            get All Paving, Inc.
         equipment refinanced.




                                                               9
         Further Affiant sayeth naught.




                                                        Daren Daly



SUBSCRIBED AND SWORN TO
before
    me on this  2 day ofDecember 2019

                      0


M.WWA.WVURaLGh,OA
Ndtary Qu#lie
                                                                             M Jomows
                                                                             NOTARY PUBUC
                                                                             STATE OF
                                                                                       FLORIQA
My commission expires:                      IZQZI                         6* Comm#OG11743#
                                                                             E.Pire. 8/21/2021




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                       ASSIGNMENT SFJ'ARATE FROM STOCK CERTIFICATE


               The
               undersigned, Jamie A. Schindler. for and in consideration of the sum of Ten Dollars
    and 00/100 ($ 10.00) and other good and valuable consideration, the receipt of which is hereby
   acknowledged, does hereby sell, assign and transfer unto Daren C. Daly, all shares of the
   common stock of All
                            Paving, Inc., a Florida corporation (hereinafter referred to as the
   "Corporation"). constituting 80% of its outstanding capital shares, standing in her name, and
   hereby directs the Corporation to transfer said stock on the books of the Corporation.

          This transfer constitutes a complete renouncement of
                                                               any and aI! interest which the
   undersigned has in the Corporation.

              The
               undersigned hereby covenants that she is the lawful owner of the stock interest being
   transferred hereby, and the interest being assigned hereby is free from all liens and
   encumbrances, and that she has good right to transfer the same, and she will warrant and defend
   the same against the lawful claims and demands of all third
                                                               persons whomsoever.

              This action taken as of the 12   day of Januarx, 20! 6.



                                                                                    I
                                                    Jamie Ai   Sohindler




                                                                                 1% pwmm,PP
                                                                                 OamMIJDE

                                                                                --/SZD-'8MSG




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                       Case 22-15694-SMGAll Paving
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                                                                 10/24/22 Page
                                                          Paving & Sealcoating is 3-D!
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                                                                                       112 of 127


 GZ il                                                                                 Tim Maxwell <tim@allpaving.com>


                                                                                  -




 All    Paving & Sealcoating          is   now   3-D!
 1 message


 3-D Paving & Sealcoating                                                                     Mon, Jun 5, 2017 at 3:25 PM
 Reply-To: 3-D Paving & Sealcoating
 To:   Tim@allpaving.com




                   U.P/+tl-                                           111111
                                                                        ..
                                                        /SNOW



                 All Paving                                             7
               Same Great Seruice, Brand NEW Look!


                                                            PAVING &

                    -'.                                     SEALCOATING
                                                            OUR WORK STANDS OUT




                    For All Your           Parking Lot and Roadway Needs!

              All   Paving & Sealcoating, LLC       has re-branded itself as 3-D Paving &

              Sealcoating! We're still providing the        same   great service you've   come   to

              expect, just under a brand     new   banner!
              Our Phone Number (1-855-735 ROAD [7623]),Tax-ID, and License number
              haven't changed, just our name and logo. Any            existing signed contract will still
              be    performed, and any proposal sent in the        last 90 days will continue to be
              honored.




              For questions about your current or new project, contact your estimator:
              Bob Holland    (Bob@3-DPaving.com)
              Keith   Daly

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7/95/2017        Case 22-15694-SMGAll Paving
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                                                             Sealcoating is Page
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                                                                              3-D! 113 of 127
                                                                                           now



            Steven    Joseph
            For questions about your permit, you                        can   contact:

            Silvana McLean

            And for   questions about bi//ing, you                  can   contact:
            Linda K. Thorsen



            We look forward to your continued business and can't wait to hear from you

            again!




                                                         WWW.3-DPAVING.COM               #a pa                 Certified
               F=P=TD Zi@          M3313Tm               INFO@3-DPAVING.COM
                                                                                       en.- E-- -WBENC   WE=n'i Bumle, EnwM,




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                                                      3-D Palncl & Goal.Co,ai-ij




                                                     Add     us   to your address book




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                                                          65%.


      Dad
  <                                           CQ               i
      +19547039502
                                    ...


                for another 2 years
                which it will, you
                miss out on these
                guys
      4:29 PM
                 View all                                  >


                Saturday,   November 28,2020




                See text           directly
                               AAAA
                above                   from two
                years ago. Ditto it
      5:41 PM   again.

                   Friday, March 19,2021


        Jamie and her
        family will            be
        devastated when
        they see those
        texts and pictures...                         12:21 PM




  MO            +                                     P.   .1111.

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Certified Copy of Resolutions/
Authorizatlons For Accounts And Loans                                                     GPNCBANK
(coations,Partnershlps, UnincorporatedAssociations,Sole Proprietomhips & Other Organizations)
       PNC Bank National Association iBam
        CustomerName
                                                                                                         hgmXI.D.Numberffllo
                                                                                                     ,




       AU. PAVING INC DBA
                                                                                ("Customer")
       ALL PAVING

       8919 NW20TH MNR
       CORALSPRINGS FL 330716181
       Type of OrganizalionFlease Checkone)                   Resclullonfor ALL PAVING INC
       E  Corporatlon. The Customer is a corporslion, and the undersignedSecretary of the Customercertifiesthat
          Ihe following is a true copy of resolulionaadopted by the Board of
                                                                                Directors of the Customerpursuant to a
          notice and the arflcles of lncorporatlon and regulations or
                                                                        by-laws of lhe Customerand at which a quorumwas
          present, or adopted without a meetingbylhew,Iltenapproval ofall ofthe dlredo,s of the Customer,
       o Partnership. The Customer ie a
                                             partnership.and Ihe undersigned, a general patner of such partnership,
          cmlies that the following Isa resolulionadopled
   ,                                                          by all of the general partners of such padnemhip.
       O Unlncorporated Aeeociation.The CustomerIs an unlncorporatedassoclallon.
                                                                                               and the undersigned Secretary
          of the CustomercertifiesIhat the
                                             followingis a true copyofresolutions adopted by the Members, Trustees.
          ExecutiveCommittee, Board of Directors, eto. of the Cuslomerpursuantto, and in compliance
                                                                                                            wah, Its
          organizationaldocuments.
       o   Sole Proprletorshlp.The Customeris a sole proprietorshlpowned by doing business under the Customer's
           name specmed above, andthe undedgned
                                                        hereby adopts the Mowing resolullonsand agrees that such
           resolullons are fuly binding on such sole propletor personally and
                                                                              upon Ihe personal assetsand propertyof
           such sole proprietor.
       o    Other. Please complelethe Unlnco,porated Aesodatlons& Other Organizationssection         on   lhe revarse side.

   Resolutions:
   1.      Depository. Resolved lhat lhe Bankis deslgnated a deposiloryofthe Customer, and the Bank ls authorized to
           accept for deposit to the credit of any accountof the Customerany monies. checks,d,ab, notes, acceptances
           or other evidences of lndebtednessdellvered to the Bank for
                                                                       deposit. whelharor not endorsed, and any
           endorsement themon by whomsoeveramxedwhether by slamp, mechanicalorolhersignature shaU be deemed
           Ihe endorsement of the Customer.
   2.      Withdrawals and Transfers. Resolved that the Bank is authorized lo make paymentsfrom the
                                                                                                       accountm of
           Customeraccording to anycheck, draft bill of exchange,            or olher written instrumentor
                                                                      aoceptance                               direction
           signed by anyone of the following individuals, offkem or designated agents, and thalsuchdesignated
           individuals may also otherwise transfer. or enter Into agreements wilh Bank concerning the transfer, of funds from
           Customets awount(s). whether by telephone, telegraph, computerorany other manner:

  VICE PRESIDENT




           The Bank may accept, pay and/or apply any check,
                                                               draft, charge, Instrumentor other order for the payment of
           money drawn on such accounts, or payable to fhe Customerthat has been endorsed by any of the authotized
           aignatoriesIisted, orperform any transferoffunds,and any orallof such actions may be done:
               10       without regard to the appHcationof the same
               0D       without regard to Ihe size of the same
               (Iii)    without regard as to the payeethereoforwhether sumsare paid or payable incash toor
                                                                                                                   by credit
                        to any ofthe persons NNed above oren account of
                                                                             anyofthe persons listed above, or any other
                        person or entily, and regatdlessofwhethersuch funds are used in whole or In part for the personal
                        account or benefit, or in payment of the incivklualobligations of, any Individual
                                                                                                          oblgations of any
                        such persons lo the Bank
               (iv)     without regard to the dlsposilionor purposeof same
               M        as allowedby applkable Iaw.




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      In addition but not byway of llmitalion, the Bank maytakechecks, draftsor other items
                                                                                            payable to "cash", the
      Bank or the Customer, and pay Ihe sums represented by such Items In cash to any person presentingsuoh items
      or credit such Items to the account or
                                             obligationsof any person presenllngsuch items orany other person or
      entity as directed by any such person.
3.   Producta and Servlces. Resolved that any of the persons listed in Section 2 above are authorized to enter
     into contractsand agmements,writlenorverbal, for any products or servicesnow or fri the future offered
                                                                                                               bythe
     Bank. including but not limited to (D cash management services. OI) purchases or sales of foreign exchange,
     securitiesor otherllnanclalproducts, Oil)                         products and aervlces, (iv) wire transfer of
     funds from or to the accounts of the Customerat the Bank. and (v) ACH transactions.and the Bank may
                                                                                                               charge
     any accounts oflhe Customeralthe Bank for such products or services.
4.   Loans and Extensions of Credit. Resolved that any one of the following:

VICE PRESIDENT


       --




     are  hereby authorized0) lo effectloans, advancesand renewalsat any lima forIhe Customerfrom the Bank;
     01) to sign and deiver any notes (with or withoutwarrant of attorney to confess judgment) and evldences
     of Indebtednessofthe Customer; OlD to request #Ie Bank to Issue letters of creditand to
                                                                                              sign and deliver
     to the bank any agreements on behalfofthe Customertoreimburse the Bank for all
                                                                                          paymentsmade and
     expenses Incurred by it under such lettersof credit and draftsdrawn pursuant thereto: (iv) to sign and deliver
     any inol,uments or documentson behalfof the Customerguaranteelng,endorsingor securing the payment of
     any debts   or obllgatlansof any person, form or
                                                      corpomlionlo the Bank; M lo pledge, assign. transfer. morlgage,
     grant a secunty Vitefest in or otherwise hypolhecate to the Bank any stock, securities, commercialpaper,
     warehouse recelplsandotherdocumenlsof title, b18, accountsreceivable,contract rights,
                                                                                                  inventory,equipment,
     real property, and any other investments or propertyof the Cuslomar, real or
                                                                                  personal,tangible or intangibleas
     secu,Ity for the payment ofany and al loans, advances,Indebtedness and other Ilabiities of the Customerlo
     the Bank of every kind and description,direct of indlrect,absolute and
                                                                            contingent, joint or several whether as
     drawer, maker, endorsea, guarantor, surelyorotheiwise,and to execute onbehaNoftheCustomermortgages,
     pledgas, securityagreements, financlng statements and o{her instrumentsor documents In conneclion therewlth:
     and (vi) to sell or dlscountwilh the Bank any commercial paper,bfllsand olher instrumentsand evidence of
     indebladness,warehouse recelpls andother documentsof tille, accounts,accounts recelvable,contract rights,
     and olher assets, tangible and Intangible, at any time held by the Customerand for such
                                                                                               purpose to endorse,
     assign, transfer and deliverthe sameto the Bank.
5.   Revolving Credlts. Resolved thatin connection with any extensionof credlt obtalned by any of the persons
     authorized in Section 4 above, that permR the Customer to elfect muRIple advances or draws under such credit,
     any of the personsIlsled in Sections 4 (Loans and Extensions of Credit) and 2 6Mlhdrawalsand Endorsements)
     shallbe sulho,izedto make such advancesor draws.
6.   Telephonic and Facsimile Requesle. Resolved that the Bank Is authodzed to take any aotion aulhoHzed
     hereunder based upon (i) the telephone request of any person purporting to be a person authorizedto act

     transmission,or oil)lhe telex originated by anyof such persons, tested in accordance with such testing
     proceduresas may be estabtished between the Customerand the Bank from time to time.
7.   General. Resolvedthat a certlliedcopy of theee resolullonsba delivered to the Bank; that the persons
                                                                                                          spectlled
     herein are vested wilh authorityto acl and may designate successor persons to act on behalf of Customer
     without further aulhody ffom the Customer or governing body: and that Bank may rely on the aulhodty
                                                                                                           given by
     Ihls resolutlon unitactual receiptby the Bank of a cetllied copyof a new resolution
                                                                                         modillno or revoking the
     foregoing  resolution.


Executed this date of April 7, 2017




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 CERTIFICATE

 Corporations
 I, the undersigned,Secretaryof ALL PAVING INC certify that as of this date the omcers of this comoration
 are:


Chairman
 of the Board                                         Secretary

 President                                            Treasurer

 Vice President
                  /             iJ?
                                                     Asst Secretary



 IN WITNESSWHEREOF, l have hereunto subscribed              name on   this date of
                                               my




                                                 Signature of Secretary
Partnerships
By:                                                  By:
Signature                                            signatDre
Print Name:                                          Print Name:
Partner                                              Partner



By:.                                                 By:
Signature                                            Signature

Print Name:                                          Print Name:
Partner                                              Panner


By:                                                  By:
Signature                                            Signature
                                                                                                            --




Print Name:                                          Print Name:
Partner                                              MM




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UnincorporatedAssociations& Other Organizations (LLP, LLC, ProfessionalAssociation, etc,)

If you selected Pthef, indicate the type of Organization:




Signature                                             Signalura
Print Name:                                           Print Name:



Signature                                             Signature
Print Name:                                           Print Name:




Signature                                             Signalure
Print Name:                                           Print Name:



Sole   Proprletorshlp(Owner)


Slgn@ure
Print Name:




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                              ALL PAVING DBA

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                                                                    wrote or deposited.
                       This is   an   image/copy of a check you
                                                                     not be credited to   or       debited from your
   Please refer to your available balance since this item may
                                          account at this time.
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                                   NOTICE OF CIVIL THEFLAND
                                DEMAND FOR TREBLE DAMAGES



June    15, 2018

Via CertifiedMail Return       ReceiptRequested
Federal Express                         I



All Paving &      Sealcoating LLC
DBA 3-D Paving and        Sealcoating
8919 N.W 20th Manor
Coral   Springs, Florida 33071                                                                       I


Patrick Daly
8919 N.W. 20th Manor
Coral   Springs, Florida 33071

ElizabethDaly
8919 N.W. 20th Manor
Coral   Springs, Florida 33071

Robert Holland
6304 Walk Circle #10
Boca Raton, Florida 33433


         Re:       Civil Theft/Conversion from Patrick Daly, ElizabethDaly, Robert Holland, and
                   All Paving &   Sealcoating LLC DBA 3D Paving and Sealcoating

Dear Patrick, Robert,     Elizabeth, and All Paving & SealcoatingLLC DBA 3D Paying and
Sealcoating,

         It has   come   to our attention that Patrick Daly
                                                        ("Patrick"), Robert Holland ("Bob"), and
Elizabeth Daly   ("Elizabeth"), individually and/or on behalf of All Paving & Sealcoating LLC
("3-D Paying & Sealcoating"), improperly and impermissibly opened a bank account at PNC
Bank in the name of All Paving Inc. (the "PNC Bank Accounf'). We further understand that
Patrick, Bob, and Elizabeth, individually and/or on behalf of 3-D Paving & Sealcoating have
misappropriated funds belonging to All Paying Inc. and deposited those misappropriated funds
into the PNC Bank Account as well as 3-D Paving and SealcoatingBB&T Bank Account The'        .




total of the funds we have become aware of thus far that were taken by Patrick, Bob, Eizabeth,
and 3-D Paving & Sealcoating from All Paving Inc, and converted to their own use with the
intention of peimanently depriving All Paving Inc. of their property is approximately Three
Hundred and Twenty-Five Thousand Dollars ($325,000.00). We have been further advised that
these misappropriated and converted funds were used to pay for expenses of Patrick, Elizabeth,
and 3-D Paving &      Sealcoatingand that the remainingbalance of the funds was transferred to 3-D
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Paving & Sealcoating'sbank account at BB&T Bank.

         Pursuant to Fla. Stat. § 772.11, Patrick, Bob, Elizabeth, and 3-D Paving & Sealcoating
                                                 a civil theft of All
are hereby notified that they have committed                          Paving Inc.'s property, and are
liable to All Paving Inc. for treble damages     equal   to three  times the value of the converted
property. Accordingly,  demand    is hereby made upon Patrick, Bob, Elizabeth, and 3-D Paving &
Sealcoating to deliver payment to All Paving Inc. at 1700 N. Dixie Hwy, Suite #141, Boca
Raton, FL 33432 within tbirtyi (30) days from your receipt of this letter, and for the benefit of
Ali Paving Inc. in the amount of Three Hundred and Twenty-Five Thousand Dollars
($325,000.00), which represents the minimum amount 3-D Paving & Sealcoating has deprived
All Paving Inc. of its right to possess. Should you fail to make payment as herein demanded, this
matter will be referred to our outside counsel to institute legal proceedings for the recovery of
treble damages in the amount of Nine Hundred and Seventy-Five Thousand Dollars
($975,000.00), plus interest, costs, and attorney's fees, all as provided by statute and other
applicable Florida law.

         I   am   enclosing a   copy of Section 772.11 of the Florida Statutes for your reference and
review. I urge you to send immediate payment to me of $325,000.00 no later than 30 days from
your receipt of this letter, Please know this letter is being sent with a full reservation of rights to
recover      additional   sums we   believe to have been taken   by 3 -D Paving   &   Sealcoating from All
Paving Inc.     as we are   still investigatingthe same,


         PLEASE GOVERN YOURSELF ACCORDINGLY.


                                                           Sincerely,
                                                                              nn
                                                                        -,




                                                                 U-
                                                           Daren Daly,   J.IK, M.S
                                                           C.O.O/President and Owner
                                                           All Paving Inc.


Encls.


Cc: Glenn Smith




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                         WWW.3 I)1'AVINGCOM      I   1 855-735-ROAD (7623)
                                                                             SEALCOATING
                                                                             OUR WORK STANDS OUT

                                                                               I   93 I 5 W, SAMi'1-i:. Rf). CORAL. Sl')1(NGS, FL 30005




   Dear Mr.      Maxwell,

              My   name    is Patrick   Daly, and     I   am   the   president and license-holder for All Paving & Sealcoating,
   LLC,   DBA 3-D Paving & Sealcoating. I have been in the           paving industry in South Florida for over 25 years,
   and in that time I have earned          a   reputation for high-quality work and competitive pricing. The loyalty I
   have garnered from my customers over the years enabled me to start my own company in 2012, and we
   successfullygrew into one of the leaders in the full-service parking lot and roadway maintenance and
   construction industry.

              When     we were                                         paving crew handled some
                                 Still operating underthe All Paving name,                   our

   overflow work for Ranger Construction, with Ranger providing the asphalt and All Paving providing the
   labor and equipment. These projects were very successful collaborations between Ranger and All Paving
   and included HOA work as well as DOT projects. Additionally,our concrete crew self-performed on a few

   projects for Ranger's residential division, again with great success.

                     recently split into two companies, All Paving Inc and All Paving & Sealcoating, LLC. All
              All Paving

   Paving Sealcoating, LLC is doing business as 3-D Paving & Sealcoating to avoid any confusion. Except
             &
   for the name and logo, nothing has changed at 3-D Paving, especially the quality of work. Our entire
   paving crew (including foreman Ruben Montenegro) as well as our entire concrete crew has stayed on
   with me, and we would love to continue working with Ranger Construction under our new banner. 3-D
   Paving & Sealcoating is also a WBENC-certifiedWBE, and a Broward County-certified SBE and CBE which
   can    aid in the   bidding of some earmarl<ed diversity projects.

              It is my sincere hope that Ranger Construction and 3-D Paving & Sealcoatingcan have a mutually
   beneficial relationship coexisting as allies and not competitors. I look forward to discussing any potential

   opportunitieswith you in the future, and am happy to answer any questions you may have or address
   any concerns.       My cell number is 954-703-9502 and my e-mail address is                                                          Thank

   you for your time and consideration on this matter.




   Sincerely,




   Patrick
                 ....TIYBDDO
             Daly,   President




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